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Case 2:04-mc-72295-GCS-SDP ECF No. 10, PagelD.281 Filed 07/06/04 Page 1 "a.
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SHADY RECORDS, INC.,
Plaintiff,

Vv. Case No, 04-X-72295-DT
Hon.: George Caram Steeh
Magistrate Judge Steven D. Pepe
SOURCE ENTERPRISES, INC.,
DAVID MAYS, RAYMOND SCOTT
p/kfa RAY BENZINO, and BLACK

ENTERPRISE/GREENWICH
STREET CORPORATE GROWTH
MANAGEMENT LLC,

Defendants,
and 7]
SOURCE ENTERPRISES, INC., iy

Counterclaimant,

Vv.
SHADY RECORDS, INC.,

Counterclaim Defendant.
/

NON-PARTY, GREG WIER’S, RESPONSE TO THE SOURCE
PARTIES’ MOTION TO COMPEL THE DEPOSITION
TESTIMONY OF GREGORY WIER

NOW COMES Non-Party, GREGORY WIER, by and through attorneys, COHEN,
LERNER & RABINOVITZ, P.C., and for his Response to the Source Parties’ Motion to
Compel the Deposition Testimony of Gregory Wier, states as follows:

1. Gregory Wier's deposition was taken by Defendants’ counsel on June 7, 2004.

In further answer, Mr. Wier’s attorneys notified the Source parties’ counsel of privilege issues
Case 2:04-mc-72295-GCS-SDP ECF No. 10, PagelD.282 Filed 07/06/04 Page 2 of 50

and Michigan law in that regard well prior to the taking of Mr. Wier's deposition.

2. Counsel for Shady Records, Inc. (“Shady”) objected to certain questions posed
by Defendants’ counsel relating to Mr. Wier's employment by Shady, and invoked Shady's
private investigator-client privilege pursuant to MCLA § 338.840.

3. Gregory Wier neither admits nor denies whether the Defendants’ questions
were precise, proper and directly probative, and leaves Defendants, Source parties, to their
proofs. Furthermore, Mr. Wier states that he is prohibited by Michigan law from divulging any
information he acquired during his employment by Plaintiff. MCLA § 338.840. Violation of
the statute would subject Mr. Wier to criminal and civil sanctions.

4. Mr. Wier did appear voluntarily for the deposition noticed for June 7, 2004. Mr.
Wier was unable to answer questions regarding his employment by the Plaintiff. To do so
would have subjected Mr. Wier to criminal and civil sanctions pursuant to MCLA § 338.840.

5. Non-party, Gregory Wier, files this Response to the Source parties’ Motion to

Compel his deposition.

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WHEREFORE, for the reasons stated above, Non-party, Gregory Wier, prays that this
Honorable Court deny the Source Parties’ Motion to Compel the Deposition Testimony of
Gregory Wier in its entirety, and further, grant such other and further relief as justice and equity

may require.

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Dated:

July 6, 2004

Case 2:04-mc-72295-GCS-SDP ECF No. 10, PagelD.283 Filed 07/06/04 Page 3 of 50

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SHADY RECORDS, INC.,
Plaintiff,

Vv. Case No. 04-X-72295-DT
Hon.: George Caram Steeh
Magistrate Judge Steven D. Pepe
SOURCE ENTERPRISES, INC.,
DAVID MAYS, RAYMOND SCOTT
p/kia RAY BENZINO, and BLACK

ENTERPRISE/GREENWICH
STREET CORPORATE GROWTH
MANAGEMENT LLC,
Defendants, a g
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SHADY RECORDS, INC.,

Counterclaim Defendant.
/

NON-PARTY, GREGORY WIER’S, BRIEF IN SUPPORT OF HIS
RESPONSE TO THE SOURCE

PARTIES’ MOTION TO COMPEL THE DEPOSITION
TESTIMONY OF GREGORY WIER

Case 2:04-mc-72295-GCS-SDP ECF No. 10, PagelD.285 Filed 07/06/04 Page 5 of 50

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STATEMENT OF FACTS

Non-party, Gregory Wier, appeared voluntarily for deposition on June 7, 2004. Mr.

Wier is a private investigator, licensed through Progressive Security Concepts, LLC. (See
Exhibit A, Private Detective Agency License). In a deposition on May 11, 2004, a
representative of Shady Records, Inc. (“Shady”), Paul Rosenberg, testified that Shady
retained Mr. Wier in the capacity of a private investigator. (See Exhibit B, Deposition of Paul
Rosenberg, p. 66). Shady hired Mr. Wier to locate and recover certain lost or stolen property,
and to secure evidence to be used before a court. Mr. Wier was also hired by Shady to
identify the whereabouts of individuals in possession of specific tape recordings. During his
deposition, Paul Rosenberg, on behalf of Shady, asserted the private investigator-client
privilege in accordance with Michigan law, specifically, MCLA § 338.840. (See Exhibit B,

Deposition of Paul Rosenberg, p. 67}.

The same privilege was asserted by Shady, through its counsel, on June 7, 2004

during the deposition of Gregory Wier. Accordingly, Mr. Wier was instructed not to answer
questions relating to his employment by Shady in accordance with Michigan law. Had Mr.
Wier acted in violation of Michigan law, he would have been found guilty of a misdemeanor,
and would be subject to immediate suspension and/or revocation of his license pursuant to
MCLA § 338.840(2). Despite Defendants’ contention to the contrary, Mr. Wier was, at all
times, employed by Shady in the capacity of a private investigator. Even if Plaintiff had not
asserted the privilege, Mr. Wier is prevented by statute from divulging to anyone other than his
employer any information acquired by him during his employment with respect to any of the

work to which he was assigned by the employer. MCLA §338.840. In addition, the statute

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prevents an investigator from willfully divulging or otherwise disclosing to any other individual
other than the respective client any information acquired by him during employment by the
client. MCLA §338.840. Mr. Wier acted in accordance with Michigan law during his
deposition testimony. Since Shady has not waived the private investigator-client privilege and
Michigan law penalizes disclosure, Mr. Wier is prohibited from answering questions regarding
his employment by Shady.

ARGUMENT

I. The Private Investigator-Client Privilege is Applicable to the
Employment Relationship Batween Mr. Wier and Shady.

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Defendants, Source parties, have not and cannot deny that the private investigator-
client privilege is a valid privilege recognized by the laws of the State of Michigan. In addition,
the Defendants cannot deny that Mr. Wier is a licensed private investigator in the State of
Michigan, and therefore, is subject to the private investigator-client privilege and Michigan law
prohibiting disclosure of information obtained during his employment by a client. The Private
Detective License Act, MCLA § 338.821 ef seq, provides the following definition:

A ‘private detective’ or ‘private investigator’ means a person, other than
an insurance adjuster who is on salary and employed by an insurance
company, who, for a fee, reward, or other consideration, engages in
business or accepts employment to furnish, or subcontracts or agrees
to make, or makes an investigation for the purpose of obtaining

information with reference to any of the following:

(i} Crimes or wrongs done or threatened against the United
States or a state or territory of the United States.

(ii) The identity, habits, conduct, business, occupation, honesty,
integrity, credibility, trustworthiness, efficiency, loyalty, activity,
movement, whereabouts, affiliations, associations, transactions,

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acts, reputation, or character of a person.
(iii) | The location, disposition, or recovery of lost or stolen property.

(iv) The cause or responsibility for fires, libels, losses,
accidents, or damage or injury to persons or property.

(v) Securing evidence to be used before a court, board, officer, or
investigating committee.

MCLA § 338.822 (b).

Gregory Wier was employed by the Plaintiff in accordance with MCLA § 338.822 (b).
Mr. Wier was hired to identify the whereabouts of certain tape recordings and recover lost or
stolen property. Mr. Wier was hired to do so in order to secure evidence to be used before
a court. The following is taken from Paul Rosenberg’s deposition:

Q: Did Shady Records retain Mr. Wier as a private investigator?
THE WITNESS: = Yes.
(See Exhibit B, Deposition of Paul Rosenberg, p. 66).

For these reasons, it is obvious that Mr. Wier's employment by Shady Records falls
within the purview of the private investigator definition above. Although Defendants state over
and over that Mr. Wierwas not acting in his capacity as private investigator, they fail to provide
any admissible evidence whatsoever as to why his employment does not fall within the statute.
Simply, Defendants state that Mr. Wier was a “straw man for Shady.” This allegation is
certainly not sufficient evidence to refute the fact that Mr. Wier was acting in the capacity ofa
private investigator at all relevant times during his employment by Shady. As such, Mr. Wier

is subject to the Private Detective Licence Act.
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Defendants wrongfully assert that Mr. Wier cannot claim the private investigator-client
privilege because the privilege does not belong to Mr. Wier, but rather to Shady, Mr. Wier's
client. As noted in the Statement of Facts above, Mr. Rosenberg, shareholder and
representative of Shady, asserted the private investigator-client privilege at his deposition.
In addition, Shady’s attorney asserted the privilege on its behalf at the deposition of Gregory
Wier.

Even had Shady not asserted the private investigator-client privilege during the two
depositions, Mr. Wier would be unable to disclose or divulge any information he acquired
during employment by Shady. The statute is clear that Mr. Wier cannot disclose or divulge
such information, except as he may be required by law, to any other individual other than the
client, which is Shady in this case. MCLA § 338.840. The statute acts as a strict prohibition.

ll. The Information Acquired by Mr. Wier During his Employment as
a Private Investigator is Subject to the Private Investigator-Client
Privilege.

Once again, Mr. Wier was hired by Shady to conduct an investigation as defined in
MCLA § 338.822(b). Mr. Wier is unable to divulge information obtained during his
employment by Shady pursuant to Michigan law, specifically, MCLA § 338.840, which states:

(1) Any person who is or has been an employee of a licensee shall not
divulge to anyone other than his employer or former employer, or as the
employer shall direct, except as he may be required by law, any
information acquired by him during his employment in respect to any of
the work to which he shall have been assigned by the employer. Any
employee violating the provisions of this section and any employee who
willfully makes a false report to his employer in respect to any work Is
guilty of a misdemeanor.

(2) Any principal, manager or employee of a licensee who wilfully

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furnishes false information to clients, or who wilfully sells, divulges or
otherwise discloses to other than clients, except as he may be required
by law, any information acquired by him or them during employment by
the client is guilty of a misdemeanor, and shall be subjected to
immediate suspension of license by the secretary of state and
revocation of license upon satisfactory proof of the offense to the
secretary of state. Any communications, oral or written, furnished

by a professionali man or client to a licensee, or any information
secured in connection with an assignment for a client, shall be
deemed privileged with the same authority and dignity as are other
privileged communications recognized by the courts of this state.

As the statute clearly states, even had Shady Records not asserted the private
investigator-client privilege, Mr. Wier could not divulge or otherwise disclose to anyone other
than his client any information acquired by him during his employment by the client. Todo so
would make him guilty of a misdemeanor, and subject him to the immediate suspension and
revocation of his license. Certainly, when a client does assert the privilege, Mr. Wier cannot
then actin violation of that privilege and subject himselfto civil and criminal sanctions. Without
direction fram Shady to disclose the information or a legal requirement to do so, Mr. Wier is
unable to answer deposition questions regarding his employment by Shady.

In Ravary v Reed, 163 Mich App 447, 451-52; 415 NW2d 240 (1987), the Court was
faced with analyzing the same Michigan statute at issue in the case at bar. The Michigan
Court of Appeals stated the following in reference to MCLA § 338.840:

The statute reflects the Legislature’s determination that broad protection
is to bé accorded the private detective-client relationship. Any
communication by a client to a licensee and any information secured in
connection with an assignment for a client is privileged. The
Legislature's express extension to those communications of the
authority and dignity conferred upon other, judicially recognized

privileged communications prompts us to construe the scope of this
privilege by analogy to the attorney-client privilege.
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The court further indicated that:

id. at 452.

The Michigan statute not only penalizes breaches of confidence but
clearly establishes a testimonial privilege. The statute represents a
declaration by the Legislature that the conditions necessary to the
establishment of a privilege are present in the private detective-client
relationship. This Court is bound to enforce the policy set forth by the
Legislature.

In the recent case of White v White, 256 Mich App 39, 46; 662 NW2d 69 (2003), the

Court was again called to examine the private investigator-client privilege statute. The

Michigan Court of Appeals held that the private investigator-client privilege statutes are

“unambiguous and should be enforced as written.” The Court explained that the statutory

private investigator-client privilege protects both communications from the client to the

licensee and information secured in connection with an assignment for a client. /d. The Court

rejected the prosecutor's arguments that the statutory language should be read narrowly and

argued that:

Clearly, MCL 338.840(1) and MCL 338.840(2) penalize the

unauthorized disclosure of any information ‘acquired’ by the investigator
‘during his employment’ regarding ‘any of the work to which he shall have
been assigned....' Accordingly, the investigator is forbidden from
disclosing information to anyone but his employer, except as his
employer may direct or as authorized by law. In our view, this provision
would forbid the investigator from disclosing communications, facts,
evidence, or other types of information that the investigator obtained during
the course of his employment, even if he did not develop that

information himself, but merely learned of it by overhearing discussions
or reviewing documents.

In contrast to the penalty provision of the initial sentence of MCL
338.840(2), we read the second sentence to establish a legal
prohibition that allows a client to prevent disclosure.

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Id. at 47.

In addition, the Court did not find persuasive the prosecutor's argument that disclosure
of the information was needed to advance a homicide investigation. /d. Instead, the Court
stated that ‘[t]here is no statutory exception that permits the trial court to set aside the privilege
on the prosecutor's showing of need.” /d. at 52. The statute creates an “assumption that any
forced disclosure of the information protected will cause injury to the privilege holder,” whois
Shady in the case at bar. /d. at 46. (citations omitted). The Court's ruling pertaining the
private investigator-client privilege in White is unquestionably the same ruling that should be
made in this case. The Court concluded as follows:

The plain language of the statutory privilege, MCL 338.840(2),
precluded the trial court from ordering respondent's private investigator
to turn over information obtained during the course of his investigation

and in accordance with the assignment for which he was retained.

fd. at 52.

Ill. | The Private Investigator-Client Privilege has Not Baen Waived.

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Since itis Shady not Mr. Wier that holds the privilege, as in the attorney-client privilege,

Mr. Wier has not, and, in fact, cannot waive the private investigator-client privilege for Shady.

Furthermore, as evidenced in the deposition of Mr. Wier, the parties had an agreement that

questions answered during the depositions wouid not constitute a waiver of the privilege as
to any other questions. The following is taken from Mr. Wier's deposition:

MR. DAVID: So he can answer. Do we have an agreement if we let him

answer some of these questions that he won ‘t waive the
privilege on the other ones?

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MR. LANE: With respect to every deposition we've done. We've had it.
(See Exhibit C, Deposition of Gregory Wier, p. 31).

IV. Defendants’ Argument that the Information Cannot be Obtained from
Another Source is Irrelevant.

Defendants’ ability or inability to get the information related to Mr. Wier's investigation
for Shady is irrelevantto the Court's analysis regarding the private investigator-client privilege.
As the Court stated in White, supra, there is no statutory exception permitting a court to set
aside the privilege on the basis of a party's need. 256 Mich App 52. Furthermore, whether
or not the information is available through other means is a legal conclusion. The statute

specifically prohibits a fishing expedition by the Defendants.

CONCLUSION
WHEREFORE, for the reasons stated above, Non-party, Gregory Wier, prays
that this Honorable Court deny the Source Parties’ Motion to Compel the Deposition
Testimony of Gregory Wier in its entirety, and further, grant such other and further relief as

justice and equity may require.

RNER & RABINOVITZ, P.C.
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Samue erman (P24238)

Attorneys for Gregory Wier
26862 Woodward Avenue, Suite 200
Royal Oak, MI 48067

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IN THE DISTRICT COURT OF THE UNITED STATES

FOR THE SOUTHERN DISTRICT OF NEW YORK

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SHADY RECORDS, INC.,
Plaintiff,
Vs. Casé No. O3-Cv 9944
SOURCE ENTERPRISES, INC., _
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p/k/a RAY BENZINO, and BLACK SERILE Lathe.
| SHESEIFOLOER

ENTERPRISE/GREENWICH STREET
CORPORATE GROWTH MANAGEMENT, LLC,

Defendants.

HIGHLY CONFIDENTIAL

The Videotaped Deposition of PAUL ROSENBERG,
Taken at 1760 Seuth Telegraph Road, Suite 300,
Bloomfield Hills, Michigan,
Commencing at 10:11 a.m.,

Tuesday, May li, 2004,

Before Judith C. Werner, CSR-2349.,

CONFIDENTIAL

Doerner & Goldberg - New York, Ine. (2127) 292-5026

Case 2:04-mc-72295-GCS-SDP

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1 APPEARANCES: i PAUL ROSENBERG,
2 2 was thereupon called as a witness herein, and afier
3 DONALDN. DAVID 3 having first been duly swom to testify to the uth,
4 Fischbein Badillo Wagner Harding 4 the whole trath and nothing but the truth, was
5 909 Third Avenue 5 examined and testified as follows:
6 New York, New York 10022 6 MR. DAVID; Donald David from Fischbein
7 (212) 453-3750 Fos meme mm, om 7 Badillo Wagner Harding for the plaintiff.
8 Appearing on behalf of the Plaintiff. B MR. ELKIN: Michael Elkin, Thelen Reid &
9 9 Priest, representing the defendant and counterclaimant
10 MICHAEL §. ELEIN 10 Source Enterprises, Inc.
11 Thelen Reid & Priest 11 Good moming, Mr. Rosenberg.
12 875 Third Avenue 12 THE WITNESS: Moming.
13. New York, New York 10022-6225 13 MR, DAVID: Michael, you'rs not
14 (212) 603-6510 14 representing the individual defendants?
15 Appearing on behalf of the Defendants Source | 15 MR. ELKIN: The other individual -- we are
16 Enterprises, David Mays and Raymond Scott. | 16 representing the other individual defendants as well,
17 17 but they also are repredented primarily by the
18 ALSO.PRESENT: . -- 18 McMillan firm.
19 Tracy Clegg - Video Technician | 19 -MRDAVID: Okay.
20 "7" 20 EXAMINATION
21 21 BY MR ELKIN:
22 22 Q. Mr. Rosenberg, what do you de for a living, sir?
23 23 A. lam anattomiey, artist manager, and Jown a record
24 24 company. ,
25 25 OQ, And would that record company be Shady Records, Inc.4
3 5
1 Bloomfield Hills, Michigan 1 A. Yes.
2 Tuesday, May 11, 2004 2 Q. And what percentage of that compatry do you own, sit,
3) 10:11am. 3. by way of sharés?
4 4 A Forty percent.
5 VIDEO. TECHNICIAN: We are now on the record] 5 Q. And do you know approximately when that company v
6 Thig is the videotaped deposition of Paul Rosenberg 6 incorporated?
7 being taken on May the 1]th, 2004. The timeisnow 7 A, 1999,
§ 10:11 and 37 seconds am. We are Incated at 1760 B Q. And who, ifyou know, are the other shareholder or
9 South Telegraph Road, Suite 200, in Bloomfeld Hills, 9 shareholders of that company?
10 Michigan, This deposition is being taken on behalf of - 10 A. The only other sharcholder is Marshall Mathers.
1]. the defendant in the matter of Shady Records, 11 Do you also act as the manager for Mr. Mathers’
12 Incorporated versus David Mays, Raymond Scott, 12 professional career?
13 professionally known as Ray Benzino, and Black 13 A. Personal manager, yes.
14 Enterprise/Greenwich Street Corporate Growth 14 Q. Do you and he have a management contract, written
}15 Management, LLC, and Source Enterprises, Tacorporated | 15 management contract?
16 versus Shady Records, Incorporated and Marshall Brice [16 A. We do not have a current management contract, It's on
1? Mathers, the Third, professionally known as Eminem. 17 a handshake right now.
18 This is case number 03-CV 9944 GEL. This matter is 18 Q. Was there a point in time where you and be had a
19 being held before the Honorable Gerald Lynch inthe © -] 19. written management contract?
20 United States District Court, Southern District of New 20 AL. Yes,
210 York. 2] ©, And when did that expire?
22 My name is Tracy Clegg, videotape operator. 27 A. Tm notexactly sure. It was sometime in -- eatly
23 Will the court reporter swear the witness in and the 23 this decade, Pm not exactly sure. .
24 attorneys briefly identify themselves for the record, 24 Q. ‘From 2000 on, somewhere between 2000 and 20047
25 please. 25 A. Comect

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Inc.
(Pages 2 to 5)

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6 8
7 Q, Okay. And is there a shareholder agreement between 1 THE WITNESS: Typically Mr. Mathers'
2 you and Mr. Mathers in respect of your interests 2 Inasters are owned by Aftermath Entertainment and
3 concerning Shady Records, Ine,? , 3 Interscope. However, there are some masters which he
4 A. There is. 4 Tecorded that Shady owns with Interscope that include
5 Q, What does Shady Records, Inc. do by way of activities, | 5 hia performances as well.
6 if you could describe that? 6 BY MR. ELEIN:
7 A. Well, we sign and develop recording artists. 7 . And with respect to songs that Mr. Mathers writes or
8 Q. And one of the recording artists is Eminem. Is that | 8 co-writes, do you know what company owne those music
9 correct? 9 composition copyrights? Withdrawn.
1Q A. No. 10 Do you know who owns Mr. Mathers’ music
17 Q. Who are the current artists on the toster of Shady 11 composition copyrights that were created from the time
12 Records? , 12 that you began to manage hig career?
13. A, D132, Obie Trice, Green Lantern, Stat Quo, 40 Cent. 13. A. DoT know who, yes.
14 . Does Shady Records, Inc. own to your knowledge any | 14 ©. Who is that?
13 copyright interests? 15° 4. He owns most of his copyrights.
16 °=A! Yes. 16 @, And docs he own it in hig tadividual capacity?
17) Q, With respect to the copyright interests that they own, 17 A. Na,
18 does some of the copyright interest comprise what's 18 Q. Does he own it through a corporation?
19 known a8 master recording copyrights? 19 A. There's a separate corporation that has partial
20 A, Yen 20 ownership in his copyrights,
21 Q, And docs Shady Records, Inc. also own what's known as| 21 Q. And what's the name of that corporation?
22 music composition copyrights? 22 A. & Mile Style.
23 A. Not exactly for the most part, no, 3 O. & Mile —
24 ©, Is there a separate company that — withdrawn. Is 24 4A. -- Style
25 there any affiliate to your knowledge of Shady that 25° Q. — Style. Okay, And that's a New York corporation?
7 9
1 Owns Isic composition copyright interests? 1] A. No.
2 A. Describe affiliate. . 2 ©. Michigan?
3 ©. Any company that either you, Mr. Mathers and/or Shady| 3° A. Itsan LLC believe, and I'm not sure if it's
4 Records owns a majority interest in. 4. Michigan but I believe so.
5 A. Na.- 3 Q, Is be the sole member of that LLC, if you maw?
6 Q. Does Shady Records, Inc. own any record master 6 A. He docsn't own any of it,
7 copyrights in respect of any recordings of Marshall 7 Q. Who owns it?
g Mathers? 8 A. FBT Productions.
9 A. Including the subject of this case? 9 Q. And who is FED Productions?
10 Q. Correct. 10 A. FRR
Il A. Yes. 11 QQ. FBT Productions.
12 Q. Other than -- setting aside for the moment Oh Foolish 12 A. Mark Bass and Jeff Bass.
13s Pride and So Many Styles which we'll come back to, are } 13 . Q. So those are the inembers of that LLC that own the
14 there any other sound reconting copyrights that Shady 14 interest in the LLC.
15 owns in which Mr. Mathers is a recording artist? 15. A. Ibetieve ao.
16 A, Well, we don't own them outright, no, 16 Q. So to your knowledge does Mr. Mathers own any music
17 Q You own 4 percentage of the copyright interest? 17 cammposition copyrights from snd after the time you
18 A. Yes, which -- yes. 18 began to manage his career?
19 ©, What percentage, if there is standard percentage? 19 A. already answered that. Yes, he does, He owns a
20 A, Of which recordings? 20 portion of them.
21 Q. Ofany recordings in which Mr. Mathers is arecording {21 ©. Anddo you know what percentage portion he owns of
22 ~.sattist, 22 them?
23 MR, BAVID: Other than the ones that are. 23° A. Well, of the musical compasitioning side?
24 the subject af this action.- 24° Q. Correct,
25 MR. ELKIN; Correct. 25) A. Of the portion that he controls?

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3 (Pages 6 to 9)

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4 (Pages 10 to 13)

16 12
1 Q Yes. 1 A, lnterscope only owns an interest in Shady to the
2 A. Onany given song? 2 extent that we have a venture together.
4°. Yes - 3 Q. So there's a joint venture between Shady and
4 A. Seventy-five percent, To be clear, that's from the 4 Interscope?
5 time I was managing hiv. - 5 A. Correct.
6 G, Yes, [understood that How do you get compensated in| 6 Q. But Interscope does not own any sbares in stock
7 respect of the services that you provide to Mr, 7 ownership of Shady. Is that correct?
5 Mathers? 8 A, Correct
6 oA, Are you talking just management or — 9 ©, And could you describe briefly your understanding as
10 OQ. Well, start with management. id io the joint venture between Shady and Interscope?
11 A. lreceive a percentage based on his earnings. 11 A. In what regards?
12. What percentage is that? ‘12 ©. What is the nature of the venture? Are you recording
13. A. Seventeen and a half. 13 music together? Are you publishing music together?
14. Q, And you also receive — you have an equity interest in 14 Are you embarking on developing and recording new
15 Shady Records, Inc. 15 artists?
16 A, Correct. 16 A. Wesign, develop and deliver artists’ albums to
17 Q. Are there any other ways in which you're compensated | 17 Interscope for their sale and distribution.
18 other than through your equity interest in Shady 18 ©. Would one of the artists include Mr. Mathers?
19 Records and through the percentage of commission in 19 A. No.
ay respect of reveriues that he makes from his career? 20 Q. So there is no joint venture between Shady and
9] A. From his career? 2) Interscope jn respect of the services of Mr, Mathers.
22 QO. Yes. ‘129 Is that correct?
a3 AL Yes. 73° =A, That's correct.
24 Q. And what other ways is that? 24 Q. | gather there is some legal document between
35 A. We have several other businesses and things we do 25 Interscope and Shady under which this venture is owned
1 13
1 together. 4 and operated?
2 Q. Could you just deseribe briefly what they are? 2 A Ofcourse,
3 A. Well, merchandising. We did -- we havea production | 3, Q. Now is there any interest that — withdrawn. Do you
4 company together. We have a licensing company 4 know what Aftermath does? ,
3 together. There's a clothing company. That's pretty 5 A. Yes.
6 euch it at this time, 6 . Whatdo they do?
7 ©. And just to sort of cut to the chase, would it be fair 7 A. Aftermath Entertainment is in the same business as we
8 to say that your compensation in respect of these 8 are, Shady Records.
9 various companies or revenues to you vary from 9 ©, Does Aftermath have any ownership interest in Shady?
19 transaction to transaction, or is there a straight JQ A. No,
li percentage? - J] 0, And is there any business transaction that is
12 A. [would say, I would say that it varies. 12 currently in operation between Aftermath and Shady?
13 ©. You're familiar with a company by the name of 13. A. Not directly.
14 Interscope Records, correct? 14 Q. Is there any indirect business activity between
15 A. ‘Yeah. 15 Aftermath and Shady to your knowledge?
16 Q. And you're femiliar with a record label | gather owned [16 A. We havea venture on en artist together.
17 at least in part by them, Aftermath? 17 Q. And who is that artist”
18 AL Yes. 18 A. 30 Cent
119 Q. Aftermath is a company that's owned by Interscope‘and] 19 ©. Apart from the 50 Cent artist transaction, are there
20 the artiet known as Dr. Dee or who was once known as | 20 any other current business activities behween
21 Dr. Dre? 21 Aftermath and Shady to your knowledge?
22 A. Udon't know if there's any other owners of Aftermath, 22 AL Yes,
23 but I do know that Dre is an owner and Interscope is 23 °Q. Would you deseribe what they are briefly?
24 an owner. ~~~ 154 4 it would be through Mr. Mathers' producing services as
25 6 Q. Does Interscope own any interest in Shady? 25 he would produce various things for attists on
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14 16
1 Aftermath/Interscope. 1 MR. DAVID: Object to the form, but you may
2 Q. So briefly stated, Aftermath sometimes retains him as 2 answer.
3 a producer in respect of certain recordings? 3 THE WITNESS: I think his contract with
4 A. Correct, but the reason that I say it's with Shady is 4 Jnterscope would require hitn to act as counsel for the
5 because it's via terms within a deal between 5 venture partners. We don't have an agreement directly
6 Tnterscopes and Shady for his services. 6 with him.
7 QQ. Aga preducer, 7 BY MR. ELKIN:
& AL Correct. 8 Q. And Shady has never retained Mr. Hoffman in respect of
9 . Are you familiar with a gentleman by the name of Rand} 9 any activities solely with respect to Shady Recards'
10 R-a-n-d, Hoffman, H-o-f-f-m-a-n? 10 activities. Is that correct?
11 A. Yes, lam. : iH MR. DAVID: Asked and answered. You can
12) OQ. Who ts Mr. Hoffman? 12 answer again.
43 A. Mr, Hoffman is an attorney who 1s the -- they don't 13 THE WITNESS: Qutside of the venture?
14 have official titles but is known ag the head of legal 14. BY MR. ELKIN:
15 affairs at Interscope Records, 15 Q. Tin just speaking specifically with respect to Shady
16 Q. Has -— does Mr. Rand own any — 16 Records itself, not with respect to joint venture
17 MR. DAVID: Mr. Hoffman. 17 ‘activities. In respect of Shady Records’ activities,
18 MR. ELEIN: I'm sony. Thank you. You're 18 has Shady Records, Inc. ever retaiied the services of
19 correct, 19 Mr, Rotiman?
20 BY MR. ELKIN: 20 MR. DAVID: Object to the form. You may
21 ©. Boes Mz. Hoffman own any interest in -- has Mr. Zt answer. /
22 Hoffman ever owned any interest in Shady? 22 THE WITNESS: Ne.
23) A. No. 23° BY MR, ELKIN:
24 Q. Has he-ever been elected as a director in Shady? 24 Q. Now, with respect to Shady Records' copyright
25 A. No. 25 interests — and as 1 understand them, the copyright
15 17
1 Q Has he ever been appointed as an officer by the 1 intereats arc mostly in sound recording copyrights.
2 directors of Shady? 2 A Ub-huk
3 A. No. . 3 MR, DAVID: She can't record a -~
4 Q, Hag he ever acted as counsel for Shady? 4 THE WITNESS: Yes.
5 MR. DAVID: What do you mean by acting as 5 MR. DAVID: You need to verbalize.
6 counsel? 6 BY MR ELKIN:
7 BY MR. ELKIN: 7 Q. These are a couple of just peneral background
8 Q. Have you -- has Shady ever retained the services of 8 questions, if could. Are there certain -- you act
9 Mr. Hoffimas to represent Shady in connection with any | 9 as — among other hats that you wear within the
10 business activities? = 10 coinpany, you alsa act as counsel to Shady Records,
Tl oA. Well, be docs act as counsel for venture activity 11 Tae.? Ja that correct? [s that fair to say?
12 between Shady and Interscope. 12 A. Yeah..
13.) Q. In the content of the activities between those 13 Q. And who are the other lawyers that over the last few
14 Companies, . 14 years also regularly represent Shady in connection
15 A, Yes, and between those companies and other companies.| 15 with its business dealings?
16. .Whatis the, what is the name of the yenture, by the 16 A. Theo Sedlmayz, Gary Stiffelman. Those are the two |.
17 way, between Shady and Interscope? 17 primary attorieys outside of myself that represent
18 4, It's just Shady slash Interscope. 18 Shady with respect to anything outside of the venture
19 Q. There's no official name. 19 | and within the venture.
20 A. No. 20 Q. And what about Mr. Hertz, Howard Hertz?
22 Q, And there's no document that -- withdrawn. There'sno [2] A. Yeah. Well, be does too actually. He's not one of
22 agreement under which Shady Records, Inc. is a party 22 the primaries but he helps with things, yea.
23 where Mr. Hoffman is a party iti respect of any 23° «6. «And among — would it be fair to say that pat of your
24 services that he would perform with respect to Shady. 24 responsibilities as counsel to Shady Records, you
25 Is that correct? 25

participate in the actual documentation of acquisition

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5 (Pages 14 to 17)

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14 20 é
1 of sound recording copyright interests? 1 VIDEO TECHNICIAN: Going off the record, ,
2 A. You need to be more specific. Z the time is 10:33 and 48 seconds am.
3° O. Okey. Do you draft any documents in respect of Shady] 3 (Discussion off the record at 10:33 a.m.)
4 acquiring copyright interests in sound recordings? 4 (Back on the record at 10:34 #.m.)
5 A. Pocuments or agreements? 5 VIDEO TECHNICIAN: We are back on the
6 OQ. Well let's start with agreements. That's a fair 6 record at 10:34 and 35 seconds a.m.
7 point 4 MR. DAVID: The witness hes advised me in
& A, No, don't draft agreements. “8 such a fashion that I believe he can answer your
9 G. Do you instruct — without getting involved in any 9 question without intruding upon the attormey-client
10 specific legal advice, do you instruct counsel in: 10 privilege, and therefore I will permit him to do-so.
11 respect of drafting legal documentation? il MR. ELKIN: Thank you.
12 A. Yes. 12 THE WITNESS: I was gonna explain thet
13. Q. And do you review that documentation as part of your | 13 sound recordings typically for Shady Records are only
14 Tegular duties? 14 filed within the venture, and pursuant to the
15 A. Yes. 14 agreement between Shady and Interscope, Interscope
16 Q. And are you familiar generally with the legal 16 slash Universal have the right to file sound
17 documentation 46 it relates to the acquisition of 17 teeordings for Shady/Interscope's venture. We
18 sound recording copyrights for Shady? 18 typically don't do it ourselves.
19 AL Yes, 19 BY MR. ELKIN:
20 Q. And to your knowledge is it the usual custom and 20 Q. Okay. And so with respect to -- so I understand this,
21 pructice of Shady to acquire its sound recording , 2] so Shady Records itself never directly handles the
22 copyright interests through documentation known asa =| 22 documentation in respect.of the acquisition of
23 work for hire agreement? 23 copyright interest. All of that's done by Interscope?
24 MR. DAVID: Wait one second. 24 MB DAVID: Are you saying other than the
25 Answer that yes or no if you can. 25 recordings involved in the instant case? -
19 / 21
1 THE WITNESS: Repeat the question. 1 MR, ELEIN: I'm asking a general question.
2 MR. ELKIN: Sure. Judy, would you mind 2 MR. DAVID: The word "never" — it's not a
3 repeating it? 3 general question becwuse you said never, but go ahead.
4 (The requested portion of the record was 4 Answer the question as he's asked it
5 - read by the reporter at 10:35 a.m:) 5 THE WITNESS: Not never, no.
6 THE WITNESS: It's difficult to answer that 6 BY MR. ELKIN:
7 question yes ot no, ] can expla why. 7 Q, Gkay, Well, let's break it down now. Aside from the
& MR. DAVID: To the extent to which you're 3 two purported copyright interests in this particular
9 going 10 explain why, I'wn going to assert 9 case, is it the usual custom and practice for Shady
10. attorney-client privilege. If you can answer yes or 10 Recards not to undertake the work associated with -
il no, ] was willing to Jet you answer it, 11 withdrawn.
12 THE WITNESS: I can't answer yes or 00. 12 Aside from the two alleged copyright
13 MR. DAVID: - But if it's going to require 13 intorests it this case, is it the practice of Shady
14 your explaining what you do and advice you give 14 Records to have Interscope handle all the legal
15 internally, I'm not going to let you do that, is documentation it respect of the acquisition of
16 THE WITNESS: It's more of a general 16 copynght interests?
17 _ business practice. 117 A. Filing of acquisition?
18 MR. DAVID: [it's a general business -- 418 Q. Starting with acquisition. I haven't even mentioned
i9 let me hear what he has to say, if you don't mind, ~ | 19 anything about fling, I'm going to get to that .
20 because you tay be able to get an answer. 20 A. Acquisition. Well, no, because when we sign artists,
21 THE WITNESS: J was just gonna say that 21. we draft owr own paperwork. ,
22 typically -- 22 Q. Okay. That's my point, I really want to focus on
"| 23 MR. DAVID: The problem is —- take off your | 23. thet, Til get to filing, 1 promise.
24 ~~. mike. 24 With regard to Iegal documentation — and , _a
25 MR. ELKIN: Let's go off the record, 25 ‘these are general questions. If you can't answer them —
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6 {Pages 18 to 21)

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22 24)"
1 generally, just tell me and Tl] figure out another 1 applicability.
2 way to break it down, You are familiar with the 2 Deo you generaily use third-party
3 general kind of documentation, whether if'sa work for | °3 intermediaries to acquire sound recording copyright
4 hire or an assigninent or some other way in which sound | 4 interests, separate and apart from this case which I
5 recording copyrights are conveyed ov acquired by Shady | 5 will get to?
6 Records, Is that fair to say? 6 A. Third-patty intermediaries aside from atfomeys?
7 A. Yes. 7 , Aside from attorneys, yes.
8 Q. What are the various ways in which Shady Recordshas| 8 A, And other artists! managers and people within the
9 acquired sound recording copytight interest over the 9 record business typically?
10 years? 10 Q. Correct.
11 A. With respect to — 1] A. No.
12 Q. Any sound recordings that it owns. 12 Q. With respect to - now the filing of copyright
13° A. Any sound recording? . i3 tegistrations, you're familiar with copyright
14 Q Yea. 14 registrations, are you not?
153 A. Typical ways meaning legal terms? 15) A. Yeah,
16 Q. Yes, 16 Q. Are there any copyright registrations in Tespect of
‘T7 A. Well, they're typically work for hire but not all; I 17. Shady'g business, whether it's for its own account or
18 mean not always, as in the case of this lawsuit. 18 in connection with the joint venture, that Shady
19 Q, Sometimes they'ts through assignments, correct? 19 undertakes for itself? In other words -- and Tm
20 A. Yeah, 20 going to repeat the question since it’s impossible to
21 Q. And generally your outside counsel handles that based | 21 follow -- does Shady always rely on Universal or its
22 on your instroctions, Is that the general way it 22 afhliates to undertake all copyright registrations in
23 works? B respect of any sound recording of music composition
24 AL Yes, 24 copyright interest?
25 Q. And aside from this particular case, which welll get 25 MR. DAVID: Are you saying other than as to
23 25
1 to, are there — do you ever use the intervention of’ 1 these two recordings?
2 ay private investigators in order to obtain any 2 MR. ELKIN: I'm including everything for
3 copyright interest? 3 the moment.
4 MR. DAVID: Wait one moment. 4 MR, DAVID: Well, you've got the word
5 MR. ELKIN; That's a bad question. Let ms 5 “always” in there, That's why.
6 rephrase. 6 THE WITNESS: Always, na.
7 BY MR. ELKIN: 7. BY MR. ELKIN:
§ Q.. Do you ever use the intervention of any private 8 ©. What percentage of the time -- withdrawn, What
9 investigators to acquire sound recording copyright 9 percentage of filings would you estimate are actually
10 interests, separate and apart from the copyright 10 done by Shady Records itself? When I say Shady
H interests that are alleged in thig particular case? II Records itself, it could be Shady Records or its _
12 MR. DAVID: Wait one moment. 12 counsel.
13 There is a privilege for investigators in 13 A. Ican't estimate a percentage. .
14 this state, and therefore to the extent to which it 14 Q. Would it be more than 50 percent?
15 involves the retention of investigators in the aiate 15° A. More than 50 percent by us?
16 of Michigan, I direct you not to include any reference 16 @. Yes.
7 to such investigators. Otber than that, for exaniple, 17 A. And our counsel?
18 in New York where there is no such privilege, you may 18 OJ Yes.
19 make such — you may answer. 19 A. Ne,
20 THE WITNESS: Okay. Can you repeat the 20 'Q. More than 25 percent?
31 question? 21 A. No -
22 EY MR. ELKIN: 22. Would it be more than 15 percent?
23 Q, Letme just — I'm actually asking a more general 23 A. No. | .
24 question. Then Tl break it down pechaps to the 24 ©. ” More than ten percent?
25 point where Mr. David's comment has more direct 25 A. Probably not.

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7? (Pages 22 to 25)

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26 26
1 Q Okay. So you're saying less than ten percent of all 1 A. With exception of what we're talking about today?
2 _ copyright registration filings that are done in 2° Q. Yes.
3 —s yespect of record master end music composition 3 A. Yes, but not only on behalf of Shady,
4 copyright filings are done by Shady, and the 4 Q. On behalfof who else?
5 overwhelming balance is done by Universal or ite S$ A. Well, when you're talking about his recordings, youre
6 affiliates? Is that correct? 6 tulking about the majority of them being handled by
7 A. To this pomt? 7 Aftermath and Interscope.
§ @ Yes. 8 Q. Right, but those are actually sound recording
9 A Yes. 9 copyrights in which Interscope or Aftermath is
10 Q. Can you recall off the top of your head any copyright | 10 actually listed as the copyright clanmant, comect?
1] registration filings that Shady has done itscif? 11 A. believe so, I'm not sure. 1 don't know what their
12 A. Yes. 12 agresment is.
13. Q. And how many can you recall? 13. Q. But it's - anyway, Mr. Mathers i i not listed as a
t4 A. Well, not necessarily itself but within conjunction 14 copyright claimant m respect of the vast majority of
15 with Universal outside of the venture. 13 the sound recordings in which he participates.
16 @ Yes 16 MR. DAVID: Asked and answered previously.
17 A. The two compositions that are subject of this case. 17 ‘You can uhswer again.
18 Q. That's Oh Foolish Pride and So Many Styles. 18 THE WITNESS: That's correct.
19 A. Yes, oe 19 BY MR, ELKIN:
20 ©. Those were ones that you did yourself. 20 ©. And with respect to the music composition copytights,
21 A. No,I did not do it myself. 21 those are handled and owned by percentage by the Bass
22 . Not yourself, When I say yourself, Shady Records, ]22 brothers and Mr. Mathers, correct?
23 Inc. 23° «A. That's correct |
4 A. No,we didn't do them ourselves. We did them with | 24 Q. Did there come a point in time, Mr, Rosenberg, where.
23 Universal but for Shady's sole ownership. . 23 you leamed about the so-called Bassmint Productions
27 249
1 Q. Right) What I'm asking, are there any copyright ‘1 recordings?
2 registration filings that — in which Shady is listed 2 A. Which ones?
3 as a copyright claimant that Shady has handled the 3) Q. Well, yesterday -- you were at the deposition
| 4 arranging on its own? When I say Shady, it could be 4 yesterday of Mr. Mathers.
5 efther you or its counsel. 4 «&. Uh-huh. .
6 A. Completely independent of any -- 6 ©: And I questioned him in your presence about a variety
7 Q, —intervention by Universal. 7 of recordings ~ I believe he estimated them to be in
§ A = intervention? g the hundreds -- from in or about 1998 to 19937
9 MR. DAVID: I don't now what intervention 9 MR. DAVID: When you say "ub-b
10 means, 10 THE WITNESS: Got it
lft. ‘THE WITNESS: I don't either. 11 BY MR. ELKIN:
12 BY MR. ELKIN: 12 Q. I'm sony. 1988 to 1993. Don't bold me to the dates
13° Q. Okay. So ict merephtaseit. Can you recall off the 13 because the record will speak for itself, Tim really
14 top of your head any instances in which Shady or its 14 referring to the period of time in which he recorded
15 counsel acting on Shady's behalf has handled any 15 with the Ruby brothers and Chaos Kid. At some point
16. filings with the copyright office in respect of which 16 did you learn of the fact that Mr, Mathers
17 Shady was listed as the copyright claimant? 17 participated in the creation of those recordings?
18 A. Completely independent of Universal. 18 MR DAVID: I'm going to object to the
19 Q, Correct. 49 ‘extent to which the colloquy to that question ,
20 A. No. 20s misstates Mr. Mathers! testimony. However, you can
21 Q. And with respect to the music composition of music 21 answer the question and what ] think is the question, ,
22 composition -- withdrawn. With respect to Mr. 22 which is at some point did you learn that Mr. Mathers
23 Mathers' sound recording copyright interests, thosc 23 participated in the creation of tecordings.
24° are not owned by Mr. Mathers. Those would be handled [24 JHE WITNESS: ‘With Bassmint Productions,
25 by Interscope, correct? Is that your understanding? =| 25 MR. ELKIN: Its abad question, but Tm .

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(Pages 26 to 29)

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30 32
1 trying to get to a background. 1 object,
2 MR. DAVID: That's why I'm letting him 2 THE WITNESS: Okay.
3 answer it. " 3 BYMR ELKIN: .
4 THE WITNESS: At some point] didleamof | 4 ©. Anticipating Mr. David's objection and given the fact
4 the fact that there existed recordings with Eminem and] 5 that it was a lousy question, let-me withdraw that and
6 a group called Bassmint Productions, yes. 6 ask you the following. From and after the time thet
7 BY MR, ELKIN: 7 you originally Icamed about the Bassmint Production
8 Q. And at what point did you leam that? 8 recordings, what if anything did you do to try to
9 A. I knew about Bassmint Productions since probably 9 commiereialize them?
10 1996-97, , 10) A. Lnever claimed that {knew about any Bassmint
TI Q. .And how did you learn about it at the time? 11 Production recordings in ‘96-97, 1 learned about the
12 MR. DAVID: Wait. 12 fact that there existed a group called Bassmint
13 To the extent to which that calls for you 13 Productions.
I4 to relate information you may have received ag an 14 Q. And what did you leam about them at the time?
15 attorncy, I direct you not to answer it Ifyou 15 MRE. DAVID: Again, to the extent to which
16 received it in some other capacity or way, you may 16 the information was conveyed to you ag other than an
17 anewer it , 17 attomey, you may answer. If it was ag an attorney,
18 THE WITNESS: Okay. 18 please indicate such and don't answer.
19 BY MR ELKIN: . 19 Go ahead.
20 Q. Let me probe that fora moment. That's actually a 20 THE WITNESS: I knew about them before the
21 good point, and | appreciate Mr. David bringing that | 21. capacity as an attorney. All I knew waa that it wag a
22 up. a2 Tap group that Emincm was formerly involved in.
23 At what point if ever did you actually 23 BY MR. ELKIN:
24 become counsel to Mr. Mathers? 24 ]. Okay, And the some point did you learn that this
25° A. Well, 1997. 25 group actually had recorded music?
31 33
1 MR. DAVID: Your bands are covering your 1 A, I think that’s probably during the course of my
2 mouth and it obscures -- 2 attorney-client relationship,
3. THE WITNESS: 1997. 3 MR DAVID: Then I direct you — well, then
4 MR, DAVID: On the video it obscures. 4 the answer to the question is did you learn. That's a
5 BY MR ELKIN 5 yes or no, and that you can answer.
6 ©. By the way, where were you admitted 1o practice law? 6 THE WITNESS: Yea, I did.
7 A. New York 7? EY MR. ELKIN:
8 Q. Were you ever admitted to practice law in Michigan? 8 Q. And without getting involved in any contents of
9 AL No. 4 communications in your role as counsel to Mr. Mathers
10 Q. So you leamed about the Bassmint Productions sometimd 10 of to Shady, could you just tell me the approximate
N in or about 1996 you said’? Tat date when you acquired that knowJedge?
12 A. [don't want te speculate, iz MR. DAVID: Give me one second to think
13 MR. DAVID: He said "96 to '97. 13 about that,
14 BY MR. ELKIN: 14 Given the fact that the witness has
15) Q. And who told you about it? 15 indicated that he acquired that knowledge in the
16 A. Idon't recall. 16 course of his representation, I will permit him to
17 Q. And did you ever listen to any of the Bassmint 17 answer so long as we have a stipulation that
18 Production recordings at the time? 18 permitting him to anawer that question will not waive
19 A No. . 19 the attomey-client privilege as to any other matter,
20 Q. And so this was just a general discussion IFT could 20 and J would ask that you extend that stipulation to |
2) paraphrase it, "We made these recordings at this 21 anything élsé we have in this deposition so that I
22 particular time,” and you just — , 22 will not have to ask you each and every time.
23° A. We didn't make any recordings, 33 MR. ELKIN: I have oo problem with that, I
24 MR. DAVID: Excuse me. Let him finish 24 wou't take anything in response to any of my questions
23 asking the question, please, aud give me a chance to 25 as constituting any waiver.

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9 (Pages 30 to 33)

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- 34 a6
1 MR. DAVID: Okay. So you may answer the 1 peamitting him to answer, so that we will not have to
2 question as 16 approximately when you learned. 2 redo some of this if the courl agrees with me.
3 THE WITNESS: J don't know. 3° BY MR. ELKIN:
4 BY MR. ELKIN: 4 ©. Just so the record ig clear with respect to that, you
5 @. Wasit in 20047 5 have conversations with Mr. Mathers in your capacity
& MR. DAVID: That's a yes or no. 6 ag counsel I take it, Is that correct?
7 THE WITNESS: The fact that recordings 7 AS Yeu,
a existed? — 8 Q. And Lalso gather that you have conversations with Mr.
§ BY MR. ELEIN: 9 Mathers in which you are acting as his manager. Is
10 Q. Yes, 10 that correct?
11 A. Ident know. it was not in 2004, 11 A. Yes.
12 Q, Wasit in 2003? 12 ©. And I gather you also have conversations with Mr.
13. A. Idon't know. 13 Mathers in your role as a business partner. I'm using
14 Q. You don't know what year it was. 14 that term loosely, not in a legal definition.
15 A. I don't recall when I learned that recordings existed 15 A. Yes.
16 for Bassmint Preductons. 16 . Are you generally familiar with the plans and
17. @ De you knew whether ~ I'm sory. Bo you know whethe 17 strategies of Shady Records?
18 any effort was made by you or Mr. Mathers to release 18 A. Yes.
19 any of the recordings from basement productions? 19 Q. And in your capacity only as a nonlawyer, was there
20 MR, DAVID: Give me one second. 20 ever 2 plan or strategy devised by Shady to release
21 - Again, Pm going to permit him to answer 21 any of the recordings from the Bassmint Productions
22 but only because we have the stipulation, because I do 22 era?
24 believe this is clearly within the attomey-client. 23 MR. DAVID: 1 don't mow that the witness
24 Go ahead, You may answer. 24 can divorce the two, but Pll permit him to answer
25 THE WITNESS: There was no effort by me to 25 abyway. ,
35 . 37
1 release any tecordings from Bassmint Productions. |] | 1 THE WITNESS: As] already answered, there
2 ean't sneak on behalf of Mr. Mathers, but from whatT | 2 was no plans by Shady Records or myself to ever
4 know, none of the recordings were released publicly. 3 release the Bassmunt Productions era tapes. ,
4 MR. ELKIN: Okay. Now let me just say, just | 4 MR DAVID: Youre not going to play us
5 to be clear, I'm entering into the stipulation that 3 more missic again, are you?
6 you and I have entered into, but 1 just want you to — 6. MR. ELKIN: Let's take a break.
7 J want the record to be clear that while J'm not 7 VIDEO TECHNICIAN: Going off the record,
8 taking anything and I apree that there's no waiver, I g the time is 10:57 and ten seconds a.m.
9 am not conceding down the road, given the different 9 (Recess taken at 10:57 am) +
10 roles and hats that Mr. Rosenberg wears, that we can't | 10 (Back on the record at 11:04 a.m.)
1i take the position that in fact it's not privileged i ‘VIDEO TECHNICIAN: We are back on the
12 based on arguments that we will make to the judge. [12 record, the time is 11:04 and 52 seconds a.m.
13 MR. DAVID: Mr. Elkin — 13. BY MR. BLEIN:
14 MR. ELKIN: I'm assuming we're not argiing | 14 Q. Mr. Rosenberg, Pm going to show you a document which
15 about that today. I just want to make that clear. 15 was marked yesterday at Mr. Mathers' deposition as
16 ME. DAVID: Mr. Elkin, let me just confirm. | 16 Mathers Exhibit Number 2 which ig an assignment. ‘Your
17 The stipulation is only a prophylactic on my part, it | 17 counsel has indicated he's got a copy so I'm going to
18 is meant to permit you to inquire without my concern | 18 ask you to take a look at that. Take as much tithe as
19 about waiving the attorney-client privilege, ifthe . | 19 you need ta review it. I'm going to ask you a couple
20 court agrees with me that such exists. 1 understand 20 =, questions about it.
21 that you are not waiving your claim that thereisno [21 A. Yeah.
22 poivilege that tay attach to some of these 22°.0, Okay. Is what's been marked as Mathers Exhibit Numbet
23 communications. . 2302 something that you've seen n before, eit?
24 MR. ELKIN: Thank you. af 24 A. YES. creer te
25 MR DAVID: That's one of the reasons I'm 25 Q.: And let me direct your attention, if i may, to the

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10 (Pages 34 to 37}

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42 44
1 A. At the time or prior to the time? 1 BYMRE. BLE:
2° ©. Priorto oratthe tmeof a 2. Okay. And when was that? The reason why J ask the
3 AL Yes. 3 question was becausc this assignment is dated December
4  Q. And when did you listen to them? 4 10, 2003, and maybe I misheard you earlier, but I
5 A. Idon'trecall exactly. 5 thought that you had said that you had listened to the
6 Q, Was itright around the time that the assignment was | 6 tapes some six months earlier,
7 entered into? 7 MR. DAVID: No, that's not what he said.
8 A. it was sometime prior, & Look at the transcript, He says he couldn't tell you
9 ©. Within a week or two? . 9 when it was. You asked him, "Did you hear it within a
tO A. No, probably longer than that 10 couple of wecks?" He says, "TI don't know." You said,
11) ( Within six months? 11 “Did you hear it withm, six months?" He said, "I
12 A. Yeah. | 12 think so," or something to that effect,
13° ©. And how did you have occasion to first listen to these | 13 THE WITNESS: I said yea, Td heard it
14 recordings? 14 within six months,
15 MR. DAVID; Ifitis in connection with 15 BY MR ELKIN:
16 your legal representation of Shady or advice which you | 16 ©. You heard it within six months. You heard it within
17 gave or part of the legal strategy in connection with 17 six months of December the 16, 2003, comect?
18 that, I direct you not to answer. [fit was in 18 A. Six months prior, yeah.
Lg anciher capacity that you can segregate, you may 19 MR. PAVID: Within the six-month period,
20 answer, 20 BY MR ELKIN:
21 THE WITNESS: I can't segregate it, 21 Q. Bui the very first time — whenever this period of
22 BY MR. ELKIN: 22 time was within the six-month period of time, the very
23 Q, Howdid you — did somebody present these recordings |23 _ first time was when you heard it off of the Source Web
24 to you at the time that you listened to them? 24 site, Ts that your testimony?
25 MR DAVID: Again, if itis im connection 25 MR DAVID: You have to answer verbally.
. . 43 45
1 with your legal representation, please don't answer. I THE WITNESS: As I recall, yes.
2 MRL ELKIN: Tin asking him a physical fact, 2 BY MR. ELKIN:
3 Tm not asking the contents of any confidential 3) Q.) And pnorto your execution of this assignment, other
4 communications, if that's your instruction, that's 4 than listening to the music via the Web site, had you
5 your mstruction, but please listen to the question. 5 heard any other -- had you heard the recordings in. any
6 MR_ DAVID: I did listen to the question. 6 other way?
7 Communications have different forms. Commmunications| 7 MR. DAVID: Excuse ine. Now I will direct
BR eould be in the form of an act as well as in words, so 8g hin not to angwer because the part of the answer which
9 thoge are also protected. 9 T directed him not to give you before pertains
10 MR. ELKIN: I'm asking him who broughthim 10 specifically to his role as counsel, so now Thn-
11 the tapes. 1 directing him not to answer that piece of the
12 MR. DAVID: And I'm saying to you that it 12 question, ,
13 may still be protected, Give me one moment though, 13 MR. ELKIN: It's just a blanket
14 because it may be that {can get you an answer 14 inskuction, You're not going to -- okay.
15 pursuant to our stipulation. 1s MR. DAVID: Let me explain, Michael, I
16 (Diseussion off the record at 11:12 a.m.) 16 already Inow what the answer is, so I gave you the
17 {Back on the record at 11:13 am.) l7 piece as to the first time because I felt that that
18 MR. DAVID: I can give you a partial 18 was not privileged. The second pieee, because of what
19 angwer-- , - 19. ‘he said to me, I know it is privileged.
20 MR. ELEIN: Okay. What is it? 20 ’ ‘MR. ELEIN: Okay.
21 MR, DAVID: — because there's a part that 21 MR. DAVID: Now you can test the privilege
22 is not privileged, may not be privileged. 22°  ifyou want.
23 Go ahead. You may answer. 3: MR. ELKIN: That's what I'm doing
24 THE WITNESS: The first time I heard them ~---| 24--BY MR. ELKIN; —-——--—--—..
25 wason the Source Web site. 25: -& You heard the recordings for the first time when they

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third page in the exhibit under the last bit of

38

40

To the extent fo which you can separate out a

I 1 different role that you had —
2 writing about 30 t 40 percent of the way down. It 2 THE WITNESS: 1 can't separate a different
3 says, "Assignes, Shady Records, Inc., a New York 3 Tole. ,
4 corporation, by Paul Rosenberg, its authorized 4 MR. DAVID, Okay. In that case then, I
5 signatory,” and then there's a "by," and then on top 5 direct you not to answer,
6 of the words "Shady Records, Ine." there's a — looks 6 BY MR. ELKIN:
7 like a signature there. Can you identify thst 7 Q, Now the two songs that are listed on page four of the
8 signature? | 8 exhibit were to your understanding part of what we
Oo A. Yas. 9 referred to as the Bassmint Productions recordings?
10. Andis that your signature? 16 MR. DAVID: Objection. Ife part of what
1] A. Yes. il you've referred to as Bassmint Productions recordings.
12 And were you signing in your capacity as an officerof {12 BY MR, ELKIN;
13 Shady Records, Inc.? 13 Q. Did you understand that these particular recordings
14 A Yes. | 14 were recorded with Bassmint — at the time that
15 Q And what's your understanding of the document that you; 15 Bassmint Productions was banded together?
16 signed? 16 A. Yes.
17 MR. DAVID; Objection, You may answer. 17 Q. And why, if you know why, why were these the only two
18 T assume you're not asking for his legal ig recordings laid out in this assignment? ©
19 conclusion. 19 MR. DAVID: Give me one moment.
20 "MR. ELKIN: No. 20 If you can segregate the role as counsel, |
21 MR. DAVID: Go ahend. 21 whatever role you may have had that wasn't an
22 THE WITNESS: It's an assignment by 22 attomcy, you can answer that.
23 Marshall Mathers individually as copyright owner in 23 THE WITNESS: 1 can't separate them.
24 the musical compositions listed therein, 24 MR. ELKIN: You're instructing?
25 BY MR, ELKIN: 25 MR. DAVID: I'm instructing not to answer.
a9 . al}
1 Q. Specifically if you go to page four it refers to Oh 1 We can have @ stipulation that he'll follow whatever ©
2 Foolish Fride and So Many Styles, correct? 2 instructions I give him in terms of answering
3 A, Yes, it docs, 3 attorney-client privileged matters, sc you don't have
4 Q. And those were the copyright interests that you 4 to ask him each time.
5 understood this assignment to be granting from Mr. § MR. ELKIN: I'm going to ask you each time.
6 Mathers to Shady Records. Is that correct? — 6 MR. DAVID: J'll save you that
7 AS Yea. . 7 BY MR. ELKIN:
8 Q, And what were the cirammstances surrounding the & ©. At the time this assignment was --
9 “execution of this document? Why did you enter into 9 MR. DAVID: By the way, by making an
10 this document? 100 objection, I'm not even agreeing on the question of
11 MR. DAVID: Give me a moment 11 whether it's irrelevant these are the only two, but
12 To the extent to which it involves legal 12 it's not necessary because I'm not going there nght
13. advice which you provided to Shady or ta Mt. Mathers, | 13 now, ,
14 please do not answer. To the extent to which it 14 MR. ELKIN: Well, that's a good thing since
15 invelves your participating im some other role, you 15 this is a deposition.
16 Tay answer. 16 MR. DAVID: Yes, but as you learned
17 BYMR. ELEN: 17 yesterday ftom the court, you can't just go on a
18 Q. And specifically I'm just - Tm just asking you in | 18° freelance fishing mission.
19 your capacity as representative of Shady Records, what | 19 MR. ELKIN: You take arisk ina
20 was your understanding as to why you were entering - | 20 depesition. Let's not belabor this.
3] into this agreement at this time? 21 4 MR. DAVID: T agree, Let's not belabor i it.
22 MR. DAVID. I repeat my cautionary f22 BY MR ELKIN:
23s instruction. To the extent to which it involves a 23° Q. At the time this assignment wag entered into, Mr.
24 Jegal strategy or legal advice, please do not commment. [24 Rosenberg, had you bed occasion to listen to the
25 25° recordings that are the subject of the assignment?

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46 46
1 were up on the Source Web sita, Atsomepointintime | 1 to the jodze.
2 subsequent to your hearing them on the Web site and 3 MRE. ELKIN: You know what? Let's nat
3 puor to your exeention of the assignment, you heard 3 belaber this, Donald.
4 them again jm éncumstances that your counsel is 4 MRE. DAVID: Excusé me. You made a
8 eurrently instracting you not to answer onthe grounds =| 3 statement,
6 of attomey-client privilege, 6 MR ELKIN: Your arguments are what they
7 MR. DAVID: Excuse me, It's not only 7 are, The bottom line is you're giving him
8 attorney-client privilege. There's is also work 3 instructions m areas frankly which I feel are
9 product and investigator privilege. 9 palpably improper. I understand that you have an
10 MR. ELKIN: Well, which ones are you id interest in wanting to do this. That's fine. You
1) asseTting here? Ll know, you're absolutely right. J shouldn't make
12 MR, DAVID: Tm asserting all three of 12 predictions a8 to what's going to happen or not.
13 those, . 13 Let's just move on --
14 MR. ELKIN: You're asserting all three of 14 MR, DAVID: [agree.
14. them. 15 MR. ELKIN: -- with thé questions.
16 BY MR. BLEIN: 16 Just so 1 understand it, the instruction
17 Q. How many times — without getting into the 17. that you've given bim with respect to his not bemg
18 circumstances for the moment, how many times did you | 18 able to testify as to whether or not the recordings ©
19 hear the recording after you initially heard it off of 19 were the same with regard to one of the up to four
20 the Source Web site and prior to the execution of the 20 occasions, I was zomg to ask him with respect to the
21 assignment? 21 others, Your instructions are going to be the same,
29 A, More than once, less than four. 22 so in the event | want to test this with the court, I
23° Q. And was the time — withdrawn. And did you get the -- | 23 don't want to have to Tepeat cach of the questions,
24 did you hear the recordings -- withdrawn. 24 but I'm happy to do so if you want,
24 Were the recordings that you Hstened to 25 MR. DAVID: [actually need to ask him a
47 . 43
I after you initially listened to them via the Source 1 question off the record before I do that. Give me one
2 Web site the same recordings that you beard on the 2 morment.
3 Source Web site? 4 MR. ELKIN: Sure
4 MR. DAVID: I'm going to direct you not to 4 VIDEO TECHNICIAN: Gog off the record,
5 answer that question. - [t's part of the communication 3 the time is 11:18 and 39 seconds am.
6 T assert the previous three privileges. Talking about 6 (Disenssion off the record at 11:18 a.m.)
| 7 only the period between the first time he heard it and 7 (Back on the record af 11:19 am.)
| 8 — the assignment date, a VIDEO TECHNICIAN: We ate back on the
9 MR, ELKIN: You're not even going to let $ record at 11:19 and 47 seconds am.
19 him testify as to whether or not what he heard was the 10 MR. DAVID: I will pennit you to inquire as

Jit game thing? Is that your instruction? ll to So Many Styles because, after conferring with Mr.
12 MR, DAVID: That's correct becanse that's a 12 Rosenberg, 1 believe that his anawer does not
13- = communication. 13 implicate any of the privileges we have discussed, if
14 MR. ELKIN: We're going to definitely be 14 you chaoge to do ao.

15 back here again. 15 MR. ELKIN: I thought I had chosen to do so
16 MR, DAVID: No, We will be hack here again | 16 earlior.
17 if the court agrees with you. 17 BY MR, ELKIN:

[1g MR. ELKIN: Yes. 18 Q, J will ask you about So Many Styles and then Tll come
ig MR, DAVID: You remember the last time you | 19. back to the Oh Foolish Pride so that we can further
20 told me we were going to be back here again, the court} 20 flesh out exactly where the boundaries are.

121° didn't agree with you. . 2 With regard to So Many Styles, I take it
22 MR ELKIN: No. I basically said let's get 22 that the first time that you listened to that
33° othe judge on the phone. 23 yecording was when you visited the Source Web site.

p24 MR. DAVID: That's not what! mean. You've | 24 Is thatoomect?
25 already taken the issue of attorney-client privilege 25 A. That's what] already said, yeah,

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13 (Pages 46 to 49)

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Q. Now there came a point thereafter where you had access

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25

witness, it was in histole us attorney of as partof =~

1 ] the legal work in connection with this matter, and
2 to a recording of So Many Styles that came to you ina 2 that is the reason why I am not permitting him ta
3 way other than via the Source Web site. 1s that 3 answer further,
4 correct? 4 MR. ELKIN: J understand that is your
5 A. I didn't say that 5 position, and for the sake of argument I was prepared.
6 Q. Okay. Did there come a point in time where you é to accept your position and still say that not being
7 learned «= withdrawn. Did there come a point in time 7 able to identify who the parties are I think ie not
g after you saw So Many Styles on the Source Web site i getting me to where I feel that we n¢ed to go to
9 that you thereafter had access to a different 9 discover the facts. It's not an issue you and I are
10 recording? 10 going to resolve faday. .
11 MRE. DAVID: Wait Of So Many Styles? il MR. DAVID: | agree.
12 MR. ELKIN: Of 5o Many Styles. 12 MR. ELKIN: It's going to have to be «
13 THE WITNESS: No, ] don't believe so. 13 resolved through judicial intervention. I'm going to
14 BY MR BLEIN: 14 ask some more questions. If you want to instruct him
14 Q. So when was the — other than accesé through the 15 you Gar
16 Some Web site as to So Many Styles, did there ever 16 MR. DAVID: ‘May I make a suggestion if you
17 come a point thercafter where you had access to that 17. would — if] could, and it's up to you whether you
18 music other than through the Source Web site? 18 — follow it or not. You might want to try to identify °
19 A. Yes, burit was only copies of what was on the Source 19 the parties whe were present at the time he listened
20 Web site. 20 toit
21 ©. Okay. So only in connection with things that were 21 MR. ELKIN: That's exactly where I was
22 produced in connection with this case. Is that what 22 foing.
23 you're saying? | 23. MR DAVID: Okay.
34° A. Idont understand the question. 24 MR. ELKIN: I had asked that question
25 Q. My question is you said that yon got it through the 25 earlier. :
§1 a3
1 — Source Web site originally, and then the only other 1 MR. DAVID: No, I don't think you bad.
2 rendition that you received was from a copy of what 2 ME. ELKIN; Let's not argue about it T
3 was on the Source Web site, Ie that correct? 3 believe I had, You believe J hadn't,
4 A, That's correct, prior to yesterday, ycs. , 4 MR. DAVID: It makes a difference. Feel
5 , Now with respect to Oh Foolish Pride, as 1 understand | 5 free to do that
6 it, counsel is not goiag to permit further inquiry in =| 6 MR. ELKIN: “Let's § go forward,
7 response to the questions that I previously propounded 7 BY MR ELKIN:
8 _as to whether or not the recording you listened th & Q. Okay, Mr. Rosenberg, the very first time where you had
9 subsequent to your frst accessing it via the Source 9 access to the recording after you had first accessed
10 Web site was the same. 16 it via the Source Web site, could you tell me who was
11 MR. ELKIN: Is that your current il present when you then listened to the recording?
12 instruction? 12 A Whichrecording?
130 MR. DAVID: That is correct. 13, Q. We're talking about Ob Foolish Pride, Based on your
14 MBE. ELKIN: And J assume, Mr. David, that 14 testimony, So Many Styles is something that you claim
15 that's the instruction you would give if] asked him 15 you have not listened to subsequent to the Source —
| 16 the second or third or even up to fourth time that he 16 withdrawn, So Many Styles is something that I think
17 claims that he listened to the recording, just for the 17 we have your story dawn. If i understand it
18 retard. [18 corrtetly, you listened to it via the Source Web sits,
1s MRE. DAVID: That is correct s [19 and you only heard renditions of that recording via
20° BY MR. ELKIN: At 20 , the Source Web site or copies made therefrom, and you
2] Q. Cen you tell me whether or not — withdrawn. 21 only heard a different version yesterday for the first.
2 MR. DAVID: Let me just make it clear, Mr. 22 time. Do I have that right? uO _
]23 Elkin. The reason why is because each tine subsequent | 23°. A. That's the truth,
}24--—-~-to that based upon my communication with this “—-— —| 34 --Q-—Now with regard to Oh Foolish Pride, there is a time
‘subsequent to your accessing the recording vi via the .

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54 36
1 Source Web site that you first listened to a recording 1 one word inistake here —- was that the joint venture

2 of it in some other way other than via the Source Web | 2 that Shady and Interscope have relate to the

3 site, Who was present during your Listening to that 3 development of other artists. Did I get that wrong?

4 xecording? _ it 4 MR. DAVID: Ask him.

5 MR. DAVID: Please just give him the names’ |. § THE WITNESS: Artists other than who?

6 of the people present. Don't diseuss anything else 6 BY MR. ELKIN:

7 conceming ft 7 Q. Other than Eminem.

8 ’ THE WITNESS: For the first time? 8 A. No, you didn't get that wrong.

9 BYMR ELKIN: . 9 Q. With regard to the meeting that you had, J gather that
10 Q. Yes. I think - I belicve you said there were up to 10 it waa either Mr, Cohen or Mr, Jovine that had the
Il four times, ao let's just start with the first time. 1! recording, ot did you have it?

12 A, I think it was just myself and David Cohen, 12 MR. DAVID: Allright. Now I direct you
13° Q Whois David Cohen? 13 Dot to answer.
14 A. And— 14 MR. ELKIN: Grounds?
13 Q. Sorry. 15 MR, DAVID: Grounds, attorney-client
16 A. And Jimmy Iovine. 16 privilege. He was at that moeting as attorney for the
17.0, Who is David Cohen? 17 venture in which Interscope, acting through its
18 A David Cohen is an employee of Interscope Records, [ 18 officers, Mr. Cohen and Mr. lovine, were discussing
19 Q. Is hean attorney? 19° matters with‘him. I direct him not to answer,
20 A. No. 20 - MR ELKIN; But Eminem's not part of their
21 Q. Okay. So were the three of you -- where were the 21 venture,
22 three of you phystcally located at the time? 22 MR. DAVID: That's not the issue, The
230 A. In David's office. 23 issuc is he wag sill giving them advice.
24 Q, Is that in Los Angeles? 24 THE WITNESS: Eminem is part of our
25 A. Santa Monica, , 25 venture.
55 5?
T Q. Santa Monica. Okay, And what was the purpose of your i MR. DAVID: Excuseme, Okay. But that ig
2 meeting, the three of you? 2 not the issue. The issue is that he wag still giving
3 MR DAVID: Give mea second, 3 his cHents legal advice. Whether you deem it not ~
4 You cat answer, 4 you deer that Eminem is not part of the venture,
5 THE WITNESS: The purpose was multifold, 5 that's your business, but still giving his clients
6 but it was mainly to discuss strategy on what we were 6 legal advice,
? gonna do in response to the matters of this case. 7 MR. ELKIN: Okay. Look, I'm not going to
8 BY MR. ELKIN: 8 belabor the issue, the issue with regard to Eminem, I
9 Q. Why was Interscope involved in this case? 9 know that Eminem is involved in the venture as an
10 A. Becanse they obviously have an interest in Eminem's 10° equity participant, but we're talking abet his
11s acer, ‘yi career. I'm not going to get involved in a long
12 Q. Have you ever — has Interscope ever retained you as 12 debate or discussion with you about it,
13. counsel te perform any egal work? 13 THE WITNESS: Can I point something out?

A. Directly? i4 - MRE. DAYVID: Hyou want, you can probe the

QO. Yes. 15 issue of whether Eminem is pert of the venture, if you

A. No. 16 choose,

Q.. And you were not acting as their lawyers in connection | 17 MR. ELKIN: J think we have the testimony.
with this matter, Is that carrect? 18 BY MR ELKIN: /

A. Twas acting as a lawyer for the venture, sure. 19 Q, you want to add to that, go shoad.

Q. ‘You were acting ag a lawyer for the venture, Was the 20 A. Okay. He executive produces every project as Eminem
Venture — how was the — withdrawn, Was Interscope 21 on Shady Records. He produces a lot of the songs that
ever — okay. I withdraw that, 22 are released on Shady Records.

My understanding of the testimony that you 23° Q. Anything else?
"provided earlier, and correct me if Tm wrong — Fm 24° A. His celebrity ts inextricably linked to the success of
Sure your counsel will jump right on it when I make 25 Shady Records, ,

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15 (Pages 54 ‘to (57),

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58 69
1 ©. Anything else? 1 A. Ifthere was?
2 A. Just wanted to point that out 2 MR. DAVID: Well it might be evidence of
3°. Okay: Lgotit Had - 3 ihe payment, but jt might not refresh his
4 MR, ELKIN: You're still instructing. 4 recollection. You and 1 both know that teieshing
4 MR. DAVID: Yes. 5 one's recollection means one then has an epiphany
6 BY MR.ELEIN: &é where ope all of a sudden has a memory. Now if you'd
7 Q, So the three of you gat around and listened to the 7 Tike us to find out whether there's a check and you
8 recording? . 8 want to make that request, Tl be glad to entertain
9 MR. DAVID: Direct you not to answer, 9 it .
10 Tm not going to permit you — let's make 10 MR. ELKIN: Sure. I accept your
ll it clear. Tm not going ta permit you to inquire any II invitation,
12 farther inte that meeting, Mr. Elkin 12 MR. DAVID: Just send me a letter asking me
13 BY MR ELBIN: 13 so Tl rernember becange otherwise I'l] forget.
14 Q. Okay. Was the recording any different irom the’ 14 MR. ELKIN: Okay.
13 recording that you heard on the Source Web site? 15 BY MR. ELEIN:
16 _MR. DAVID: Again, direct you not to 16 Q. Letme ask you to tum, Mr. Rosenberg, if could to
17 answer, V7 the fourth page of the Mathers Exhibit Number 2,
18 BY MR ELKIN: 18 referring to the list of compositions and master
19 Q. What did Mr, Cohen and Mr, Iovine say to you at that {19 recordings included in the assignment. Do you recall
20 mecting? 20 whether Shady did any due diligence te determine who
21 MR. DAVID: Direct you not to answer. 2] if anyone participated in any of the music composition
22 BY MR. ELKIN: 22 creations — ,
73 Q. Was there a subsequent point in time in which you 23 MR. DAVID: Object, vagne.
24 listened to Oh Foolish Pride from this meeting and 24 MR. ELKIN: These two —
25.  priot to your execution of the assignment? 25 MR, DAVID: Tm sorry. I thought you were
59 ' €1
1 A. don't recall, ] donc.
2. Q, How much money was paid to Mr, Mathers in respect of) 2 BY MR, ELKIN:
3 the assignment of his interest in these two songs? 3° Q. — of these two songs?
4 A. Specifically for this interest? 4 MR. DAVID: Object, vague az to what due
§ Q Yes. 3 diligence means, but you may answer if you understand
6 MR DAVID, Tf you know other than reading 6 it. .
7 it, you can answer. If you've got to read the 7 THE WITNESS: Define due diligence in this
& = docrment — &g circumstances,
§ THE WITNESS: I don't know. 9 BY MR. ELKIN: :
0 MR: DAVID: — then the document will tell 10 @ Wellin this particular instance Iet's take onc song
11 you if it's there. li ata time, Let's take one copyright interest at a
12 BY MR. ELKIN: 12 time so as to avoid the objection as to form.
13 QO. Okay. Separate and apart from reading the domument, | 13 With regard to So Many Styles, the
14 do you recall whether or not Mr. Mathers was paid any 14 recording itself, what was done, if you know, to
15° consideration in respect of the assignment of his 15 determine who else participated in the producing and
16 interest in these two purported copyrights? 16 recording of thai particular song?
17 A. Don't recall. 17 A. Priorto the date of the filing — the date of this
18 Q, Whatif anything would refresh your recollection? 18° assignment?
9 MR. DAVID: You know what refresh your OQ. Correct
20 recollection means in this contest. : 20 MR. DAVID: Give me one moment, please.
2 THE WITNESS: I don't think anything would... | 21 If you did anything outside your role or if
22 BY MR, ELKIN: , . * )22 you have any knowledge —let me change that—
23 Q. I gather if there was a check that was issued by Shady | 23 outside your role as counsel -- and here I'm not
24° to Mr. Mathers, that might refresh your recollection, 24-'- asking you to segregate. Ibm saying if you have any
25 correct? oe 25 knowledge outside your role as counsel, you may answer

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16 (Pages 58 to 61)

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62] | 64
1 as to that mowledge, 1 ©. Who was the producing and recording. :
2 THE WITNESS: J can't separate it, 2 A. The only thing I did was had conversations with Mr,
3 MR. DAVID: Tm not asking you to separate 3 Mathers.
4 im this instance, All right? Tim asking you whether 4 ©. And as a regult of those conversations that you had
5 you acquired any knowledge that wasn't in yourroleas |. 5 with Mr, Mathers, did you Ieam of anyone other than
6 eomisel, “  [-6 Mx, Mathers who participated in the recording or
7 TUE WITNESS: No. 7 producing of those recordings?
8 MR. DAVID: Okay, Then I'll assert the 8 A. Ofboth of them?
9 privilege 9° Q. Yes.
10 BY MR. ELKIN: 10° A, ¥es.
11 Q. So did you yourself investigate or cause to have li @.. And who did you learn?
12 investigated who else participated in these partteuler 12 A. Matt Ruby, Mike Ruby, James Decl and Mr, Mathers.
13 = in the recording of So Many Styles? 13° Q. And what did they -. this ia with regard tp which,
i4 MB. DAVID: Again, other than in your role i4 this is with regard to which or both of the recordings
13 as counsel if you did that, you may answer. 1$ at issue?
16 THE WITNESS: No, none other than im my 16 A. Both. ‘
17 role as counsel. 17 Q. And do you know what each of them did im connection
18 MR. ELKIN:. And you're instructing him to 18 with these recordings?
19 not talk about whathe did. 19 A. [know what] was told each of them did.
20 MR. DAVID: As counsel, that's correct. 20 Q. Could yon state what you leamed?
21 MR, ELKIN: Okay. 21° A. Yeah. I get the two Ruby brothers confused because ]
22 BY MR. ELKIN: 22 don't know cither ong of them very well or at all.
23° Q. Now, as a 40 percent owtter and officer and director of | 23 Q. As you can tell yesterday, I got them confused as
24 Shady Records, did you make any incuiry as to who 24 well,
25 —_ actually participated if anyone other than Mr, Mathers [25 A. Let's say that Mannix was producer, and I don't know
. 63 65
1 in the producing and recording of So Many Styles? 1 whether that's Matt or Mike Ruby. Butterfingers — in
2 MR. DAVID: Although the question is 2 producer, I mean the petson who created the music for
3 compound, if you did it in any of those capacities, 3 the tracks. Butlerfingers was the deejay who provided
4 you may answer. 4 scratching or turntable manipulation sounds, Mr.
5 THE WITNESS: Other than 9s either parallel | § © Mathers performed vocals and wrote vocala, and Mr.
6 to my role ag coungel? “16 Dee! performed and wrote vocals as well, lyrics,
7, MR. DAVID: No. If it was parallel to your 7 whalever you want to call them.
& role ag counsel, then answer the question. If it was 5 MR. DAVID: Michael, Pin not sure that you,
9 in your role ag counsel, then say that jt wag in your 9 because of the form of your questioning which { didn't
10. role as counsel antd ['ll direct you not to anawer, but {10 object fo, whether you're clear as to which of these
1i if it was merely parallel, then you may answer the 1i gentlemen did these fimetions on each of these
12 question. | 12 recordings aa opposed to both of these recordings, but
13 TRE WITNESS: Can we go off the record for | 13 i'm just pointing that out to you.
14° a@sccond? . 14 MR. ELKIN: No. Funderstand. | think his
15 MR. DAVID: Yeah, 13 testimony together with the witness's yesterday E can
16 VIDEO TECHNICIAN: Going offthe record, | 16 sort of piece it together.
17 the time is 11:37 and 50 seconds a.m. 17 MR. DAVID: It's your business, It's your
18 (Discussion off the record at 11:37 am.} 8 deposition,
19 (Back on the record at 11:38 am.) 19 BY MR. ELKIN:
20) VIDEO TECHNICIAN: Weare back on the | 20° Q. Now do you know a gentleman by the name of Gregory
21 record at 11:38 and 18 secondsam. 2] Weir, W-c-i-er? .
22 THE WITNESS: I'm gonna answer in a 22 ’ MR, DAVID: You can answer the question yes
23° parallel role. The only thing I did to investigate -~ 23 ot no.
24 was it you said who were the authors? 24 ‘THE WITNESS: Yes.
25 ' BY MR, ELKIN: 25 BY MR. ELKIN:

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&B

MR DAVID: Uh-huh doesn't work for us.

|. Q. To your knowledge is he a private investigator? 1 THE WITNESS: Yes.

4. MR DAVID: You can answer the question. , 2 MR. ELKIN: And | gather you're instructing
3 ” . THE WITNESS: Yes. , . 3 him not to answer the question on the grounds of that

4. BY MR ELKIN: 4 privilege.

5 Q. Did Shady Records retain Mr. Weir asa private 5 MR DAVID: Thatis correct.

6 investigator? 6 BY MR. ELKIN:

7 MR, DAVID: You can answer the question. 7 . Did Shady pay Mr. Weir for his services?

& THE WITNESS: Yes. . 8 MR. DAVID: You may answer that question.

9. BYMR.ELEIN: 9 THE WITNESS: Yes.

10 Q. Can you—do you remember when Shady Records retained] JO BY MR. EJ.KIN:
11 Mr, Weir as an investigater? 11 Q. How much did Shady pay Mz. Wert for his services?
120 A When exactly? 12 MR. DAVID: Give me a moment
13. Q. Yeu. 13 Tim goig to permit him to answer, but I
14 A No. 1+ would like our stipulation to extend to the
15 MR. DAVID: Give me a chance to object or 15 investigator privilege as well as the attorney-client
16s give you am instruction. [t's not a problem. I would 16 privilege.
17 have directed you to answer the question anyways. I 17 MR. ELKIN: There will bet no inadvertent
18 know we'te in the cautionary area, so } jusl want to 18 waiver by virtue of his answer to this question.
19 keep taba on it 19 MR. DAVID: You may answer the question, if
20 BY MR. ELKIN: 200s-you know, “
21 Q. Were you the representative of Shady that engaged on 21 THE WITNESS: I don't recall exactly how
22 behalf of Shady the private investigator? 22 much it was,
23 MR DAVID: You may answer. 23° BY MR. ELKIN:
24 THE WITNESS: Was I the only representative, 24 Q. Did Shady pay him directly?
25 of was Ta representative? 25 A, I don't recall,
7 69

1 BY MR. ELKIN: 1 @ Lfyou would have paid him directly, would it have

2 Q, Were you a representative, yeah 2 ‘been by check?

3 A Yes. 3 MR. DAVID: As opposed to small bills you

4 Q. Were there others of Shady? 4 mean? .

5 AL Yeu. § You can answer the qiestion, —

6 Q. Who? Who else? 6 THE WITNESS: Yes, it would have been by

7 MR. DAVID: You can answer that question. 7 check,

& THE WITNESS: Howard Hertz. & BY MR ELKIN:

9 BY MR ELKIN: 9 Q. LT you had occasion to review your bank statements,
10 Q. Anyone else? 10 you may be able to determine whether or not Shady
11 A. Idon'tthink so. 11 issued a check to him. Is that correct? Would that
12 Q, What was the purpose of your retaining Mr. Weir? 12 be fair?

3 MR. DAVID:. New I'm going to assert 13 A. Yes.
14 privilege, direct him not to answer. 14. Q. It's also possible that Mr. Hertz paid him directly
15 MR. ELKIN: This is a privilege founded 15 and just billed it as a disbursement, correct?
16 under the law of Michigan. 16 A. Its possible.
17 MR_ DAVID: That is correct, and, if 1 17 O Prorto your retaining Mr. Weir in connection with
18 might, you might want to inquire as to where Mr. Weir "| 18 this particular, this particular -- withdrawn. ‘Tknow
1) -was engaged, if you choose, your business, just 26 19 you said you didn't remember, but let me just see if]
200 predicate, 20 cam pin it down to a specific year at least. ‘sit: .
21 BY ME. ELKIN: 21 your recollection that you retained + that Shady
22 Q. lassume you're going to tell me that Mr, Weir was 22 Tetained Mr. Weir in or ‘about the year 2004, —
23 engaged in the state of Michizan, correct? 23 withdrawn — in of about the latter part of 20037

‘| 24—-A, ‘Uh-huh. 24 MR. 'DAVID:“If you knows ~
25 25 THE WITNESS: Yes. .

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8 (Pages 66 to 69)

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: 70
BY MR. ELKIN:
Q. And was this the first time that Shady actually
engaged the services of a private investigator?

Shady Records? -

Yes.

Tm not sure.

You don't — as you sit here today --

We've used other private investigators within our
companies, I don'trecall whether Shady specifically
has hired a ptivate investigator prior to Mr, Weir.
1L ©. And did you retain the piivate investigator to meet
12 with Mannix to get an assignment of his copyright
13 interest in respect of the two recordings that are at
I4 issue in this case?

13 MRE. DAVID: Direct you not to answer.

16 MR. ELKIN: [m going to move inte + ina
17 related area but I'm going to be moving into a

18 different arca, if-you want to take a break we can do
19 that, or otherwise we can keep going.

MR. DAVID: Let's keep going.

21 (Discussion off the record at 11:48 am.)

SOG SN dn ocak Bee
> OP OP

a

16 Q, And this is — you understood this to be an assignment

72
1 -  kittle later in the deposition.
2 BYMR.ELKIN: |
3 ©. What Td like to hand to you, Mr. Rosenberg, ig a
4 document which we have appropriately entitled
5 Rosenberg Number | and ssk you, sir, whether that's
6 something you can identify as your having seon before.
7 AL Yes. |
8 Q. When was the first time that you recall having geen
9 this?

10 A. _ Tim not sure.

1) Q. Do you know what it is?

120 A, Yea.

13° Q. What is it?

14 A. It's an assignment in the rights of Michael Ruby for
15 the works listed therein.

7 to your investigator Gregory Weir?

14 MR. DAVID: Objection to the
19 characterization as investigator. You can answer as
20 to whether it was Gregory Weir or not.

2] THE WITNESS: Yes,Tdo, ©
22 BY MR. ELKIN:

22 (Back on the record at 11:48 am.)
23 MR. ELKIN: Mark this as Rosenberg Number ] 23 ©. Was this assignment in furtherance of the services for
| 24 l , 24 which Shady engaged Mr. Weir?
35 MARKED BY THE REPORTER: 25 "MR. DAVID: Direct you not to answer.
, Th . 74
1 DEPOSITION EXHIBIT NUMBER I 1 BY MR ELKIN: .
2 11:48 am. 2 Q. Drop your eye down to the handwriting toward the
3 MR. DAVID: Can we po off the record for 3 bottom of the page. Do you see the wording sort of —
4 one moment? 4 in handwriting sort of slightly ebove and to the right
3 VIDEO TECHNICIAN: The time is 11:48 and 36] 5 of "Michael James Ruby"?
6 scconds a.m. 6 A Uh-huh
7 (Recess taken at 11:48 atn.) 7 . Can you identify that handwriting, whose handwriting
& (Back on the record at 12:05 p.m.) § ‘that is?
9 VIDEO TECHNICIAN: We are back on the 9 A, Not for sure, no. |
10 | record, the tine is 12:05 and 22 seconds p.m. 10° Q. Its not your handwriting.
lf MR. DAVID: Let the record indicate that I J11 A. Ldon't think so but I'm not sure.
12 have given a document which J received last night to 12 Q. Did you have occasion lo review this document prior to
13, defendant's counsel. The fissttime I received it, as 13 itbeing signed?
14 T indicated, was last night and I thought it might be 14 A. Idon'trecall,
15 relevant to today's deposition so I've turned it over. 15 QO. That's all I have for that. Que moment,
16 We'll formally produce it in a supplemental 16 MR. ELKIN: Let's mark this, Judy, as
17 production. 17 Resenberg Number 2.
18 MR. BLEIN: I appreciate the — you handed 18 MARKED BY THE REPORTER:
19 Ine the document shortly before the break. I did call 119: DEPOSITION EXHIBIT NUMBER 2
20 my office and Jeamned that, based upon the contentof | 20 12:08 pan.”
2] this document, it would appear to have been responsive | 21 BY MR. ELKIN:
22 to a much earlier document demand. That's something | 22 -G. Mr. Rosenberg, Judy's just banded to you a dactiment
23 you and I can take up in a different exchange. 1 23 we've marked as Rosenberg Number 2, Exhibit Number 2]
24 appreciate the opportunity to examine at least this 24° Can you identify that as something you've secn before?
25 Witness with respect to rt, and I may get te theta 25 AL Yes.

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19 (Pages 70 to 73)

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74 : 76
1 Q. And what ig Roseaberg Number 2, if you know? 1 this, Tm not asking you to divulge the contents for
2 A Thisdocument is an assignment by Greg Weir of his 2 the moment of any communications between you and Mr.
3 rights in the listed compositions. : 3. Weir in your role as counsel to Shady and his role as
4 Q. Do you knew what gave rise to this assigument? 4 private investigator. Tm net agrecing that that is a
3 _ MRBDAVID: Wait. Tm sory. Give me one 5 privilege that should prevent me from asking that
6 moment 6 question or any otlict question. 1 only realize and
7 Fm going to object ta the form of that 7 recognize that your counsel hes asserted that
8 question. & . privilege and that I don't want to waste anyone's time
9 MRE. ELKIN: I'm going to rephrase it | 9 here.
10 BY MR. ELKIN: 10 My question is with regard to the actual
11 Q. Do you know the cireumstances surrounding Mr. Weir's | 11 terms of the assignment itself, separate and apart
12 execution of this assignment to Shady Records, Inc.? 12 frorn Mr, Weir's role as private investigator, what
13 MR. DAVID: Give me a moment. 13 were the discussions that you had with him with regard
14 _‘Lhelieve that that is going t implicate 14 ta the terms of this Jegal document?
15 both the attorney-client and the investigative =~ 18 ' MRE. DAVID: If any.
I6 privilege. J would ask that you try to refine your 16 THE WITNESS: The terms?
17 question to Hush that out or at least set the 17 BY MR, ELKIN: ,
18 foundation for it, if you would. ° 18 O. Yes.
19 MR. ELEIN: Why don't you give the 19 A. Youmean — the terms are outlined on the document
20 instruction, and I'll ser what I can do. 20 ©, Did you and he discuss them at the time it wag being
z1 MR. DAVID: Okay. To the extent to which 21 soprepared?
2 this implicates the attomey-client privilege as to 22 «A. Prior to, yeah.
23°0—s-yourrole or the investigator privilege as to Mr, 93° QL. Whatdid you sey to him and what did be say to you,
24 Weir's role, I would ask you not to answer the 24 again, with the caveat of your counsel's arimonitian?
25 question. To the extent to which you cam answer the 24 MR. DAVID. [If you can:
75 m7
1 question as a result of one of your parallel roles at I THE. WITNESS: I said Shady wants to own
2 Shady Records, please do answer the question. 2 these and he said okay.
3 Imean I think the question is phrased too 3. BY MR. ELEIN: .
4 broadly. That's why I asked you to do it, but TI 4 Q. Did — how did you learn that he actually acquired the
5 give the direction. 5 interest of these particular works?
6 "THE WITNESS: In one of my parallel roles, é MR, DAVID: Now J think we're getting too
7 so Shady could own the compositions fisted on the - 7 close to the assignment that he had received fom
g page. 8 Shady. I'm going to direct the witness not to answer.
9 BY MR, ELKIN: 9 ‘Yon are free to ask questions, however, tc form the
10 Q. Okay. And did you negotiate with Mr, Weir with 10 predicates for that, if you wish, and to see how far
1} respect to the terms of this assignment? 11 you can go. . :
12 MR. DAVID: By assignment, I presume you | 12 MR. ELKIN: I don't kaow how J could break
13 mean the doeument, the specific document 13 it down any further, Mr. David, but —
14 MR. ELKIN: Correct. 4 MR. DAVID: Well =
.15 MR. DAVID: That's a yes ar no question. 15 MR. ELKIN: 1 appreciate your sentiment of
16 THE WITNESS: Yes. 16 _ trying to be a nice guy, but Im trying to ask this
17. BY MR. ELKIN: , 17 witness what T think are probing questions. You've
18 Q. And with regard to the negotiations, what was said? We asserted a privilege, and there's not much I can do
19 - MR. DAVID: Wait. .  |49 about it at this particular point in time. My ability
20 . Mr. Elkin, if you can isolate to the 20 io ask any further questions is hampered. As aresult _
21 negotiations solely #8 it relates to this document and =| 2] Tim going to move on to a different documeat,
22 not as to Mr, Weir's role ag private investigator, I — 22 Let's mark this, Judy, as Rosenberg-Number
23 may be able to-get you an answer to your question 23). 3. , .
24 BYMR ELKINS" ” - 24 MARKED BY THE REPORTER:
25 Q. Olcay, Let me.- just for purposes of short-cirewiting | 25 DEPOSITION EXHIBIT NUMBER 3
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20 (Pages 74 to 77}

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. 78 “BO
l 12:14 p.m... 1 assignmeut, specifically about 60 percent of the way
9 BY ME. ELKIN: os 2 down, next to the heading "2, Consideration." In the
3 Q. Mr. Rosenberg, the court reporter has handed you a 30 second line there's an arrow, something that's
4 document which has been marked as Rosenberg Number 4 4 pointing to handwritten language which appears to set
5 Take a mornent to review the document and tell me 5 forth the consideration of $15,000 ping expenses in
6 whether or not you can identify it as something you've 6 respect to the cansideration here. Do you know
7 geen before, me 7 whether or not the $15,000 that's identified as
| 8 A. Yeah, I've seen this before. & consideration was in fact paid to Mr. Wen?
9 Q. Did you ses this document — what is Rosenberg Number] 9 A. I believe tt.was.
10 3, if you know? - 10 Q. And-do you know who paid that money?
Ii A. It's an assignment by Mr. Weir to, relative to the 11 A. Idon't recall.
12 works listed therein. 12 MARKED BY THE REPORTER:
13. Q, Okay. It’s an assignment from Mr. Weir — you 13 DEPOSITION EXHIBIT NUMBER 4
14 understood it to be an assignment from Mr. Weir to 14 12:18 pan, .
15 Shady Records, Inc.? Is that correct? 15 BY Mk. ELEIN: .
16 A. That's correct, . 16 ©. Mr. Rosenberg, I've handed to you what's been marked
17 Q. And did you have occasion to review this assignment 17 as Rosenberg Number 4, Take a moment to take a look
18 _—ptior to it being signed? 18 —" atit, and let me know if you could whether or not
16 A don't recall. 19 this is something that you've seen before.
20 Q. The document, if you flip to page five of the 20 A. Yes, I've seen this before
21 document, and there's a signature above the name Rand =| 21 Q. Did you have occasion to review this at or argund the
22 Hofman. . 22 time it was signed?
23° A. Ub-bnh 23 A. Ldon'trecall.
24 Q, By the way, do you recognize Mr, Hoffman's signature? | 24 Q. Whatdid -- what's your understanding of Rosenberg
25 A, Not necessarily, no. 25 Number 4?
79}: 81
1 Q. Now was there any, to your knowledge any corporate | 1 A. Itsa confidentiality agreement.
2 resolution passed appointmg Mr. Hoffman as an 2 ©. Between Shady Records and Mr. Weir? Is that correct?
3 offices — 3 AL Yes,
4 MR. DAVID: Objection, asked and answered 4 Q. And I direct your attention to the second page of the
3 previously. 5 exhibit, You'l] see a couple of references to Rand
6 BY MR. ELKIN: 6 Hoffman —
7 Q. —ofyour company? 7 A. Uh-huh.
§ MR. PAVID: You can answer, & ©, — on behalf of Shady Records, and Rand Hoffman
9 THE WITNESS: No, there wasn't. 9 appears to be — it's a signature that appears to
10 BY MR. ELKIN: 10 indicate that it's Rand Hoffman on behalf or by Rand
11 ©. Was there sny corporation resolution passed to permit | 11 Hoffiean on behalf of Shady Records, Inc.
12 Mr. Hoffman io sign on behalf of Shady Records asit | 12° ‘Again, my question with respect to this
13 relates to this particular document? 13 document, is there any corporate resolution that was
14 A. In particular? 14 passed providing for Mr. Hoffman to actually sign this
tts QL Yes, 15 decument? .
16 A. No. 16 A. No.
17 Q. Mr. Hoffman never received anything in respect ofhis | 17 MARKED BY THE REPORTER:
18 signing this document from Shady Records? Is that 18 DEPOSITION EXHIBIT NUMBER 5
19 correct? 19 12.20 pm
20 MR. DAVID: What do you mean by anything? | 20 BY MR. ELKIN:
21 BY MR. ELKIN: 21 ©. Mr, Rosenberg, the court reporter hes handed you a
22. Q. Did bereceive any compensation for his signature on | 22 document which we've marked for identification ag
23 this piece of paper? {23 “Rosenberg Number 5. Take » moment to take 2 look at
24 A, Now - 24 that, and let me know whether or not this is a
25°Q. Teyou = I direct your attention to page one of the 25° document that you've seen before.

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21 (Pages 78 to 81)

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' ga B4
i A Yes, Tes seen it } i constitute authors of this parheular work?
2. Q. And do you révall whether or not you've seen this fos 2 MR. DAVID: Excuse me. Notice he said to
3. : the first time at oF around the time that it was ~ 3 your knowledge, not your understanding in this
‘4° 4 Lpr epared? | . Do 4 instance. You can answer in that context
. 5 ” A T believe I & saw it prior to whedl it was -- Thelieve L 4 THE WITNESS: Deine the difference.
é saw it immediately when it was prepared. 6 Knowledge, do I know for sure?
7 Q. Are you — on behalf of Shady you authorized this to 7 BY MR, ELEN:
g be filed with the copyright office? Is that correct? § Q, Let me rephrase the question because this is not an
9 MR, DAVID: Object to the form. 9 effort to trick you, Fm just trying to get some
10 THE WITNESS: Yes. 10 information, and T appreciate the subtlety that your
if BY MR.ELKIN: Ik counsel is attempiing to drive home.
12 Q. Now this particular ~ you understoad this particular 12 In addition to Mr. Mathers who's listed as
13 work — withdrawn. This covers the work — this 15 an author, do you have an understanding as to who else
14 appears to cover the work So Many Styles, Would you, | 14 is an author of this particular work, So Many Styles,
15 agres with me? 15 the sound recording?
16 MR, DAVID: Give mr one second. 16 A. Yue.
17 BY MR ELKIN: 17. Q. And who were those individuals?
18 Q. Direct your attention to line one, just to sort of eut 18 A. My understanding is that Manmix, maybé Ruby — maybe
19 through this a little bit 19 Butterfingers Ruby and Jamies Deel and Marshall
20 A. Yes, I would sgree with you. 20 Mathers.
21 Q. And do you have an understanding as to —I know that {21 MAREED BY THE REPORTER:
22 you didn't participate in this, but do you have an {23 DEPOSITION EXHIBIT NUMBER. 6
23 understanding generally as to when So Many Styles was | 23 12:25 pum.
24 first created, the sound recording itself? | just 24 BY MR. ELKIN:
25 direct your attention to item number three about 85 25 Q. Mr. Rosenberg, I've handed to you what's been matked
a3 “85
1 percent of the way down? I as Rosenberg Number 6. Take a moment to review the
2 “MR. DAVID: Excuse me. If you have an 2 document. ‘When you have a moment, please let me know
3 understanding, you can answer. Hf you're merely 3 whether this is something you. can identify as your
4 reading from the document, let us know that, 4 having seen before.
5 THE WITNESS: I have an understanding 5 A. Fm not sure whether I've seen thig one.
6 independent from the document 6 QO. Okay. Was it your custom and practice, has it been
7 BY MR. ELKIN: 7 your custom and practice to review copyright |
8 OQ. Okay. And when — what's your understanding ag i £ repistrakons for sound recording copyrights of Shady
9 when that recording was made? g Records before they're being filed?
106 A. On oraround 1939, 10 A. Not necessarily, no.
11 ©. And in 1989 was Shady Records, Inc. a corporation in |11 Q. Is it something that you just trust to others and
12 exisience? 12 sometimes you get involved, sometimes you wou't?
13. A. As] already answered, no, it was noi. 130° A. Well, as we said before, outside of the subject of
14 Q. Now this parteuler copyright registration lists as an 14 this litigation we haven't had occasion to Gle
15 author Marshall Bruce Mathers, the Third. Is it yout 15 copyright registrations, so there wouldn't be a custom
16 understanding, si, that there were in fact other 16 and practice.
17 authors with respect to the recording So Many Styles 17 Q. But would you — with regard to the content in the
18 other than Mr. Mathers? 18 copyright registration ~ I knew that you don't have
19 MR. DAVID: Object to the form. )19 responsibility with respect to the actual filing, but
20 THE WITNESS: At this point or prior to 20 to the extent is it your company’s practice and custom
21 when this was created? , 21 fo actually preview the contents of a registration
22 BY MR. ELKIN: 22 before filing it with a government office? -
24° Q, Well, at this point, 23 A. , There isn't a custom and practice.
24..A, Yes. : 24.0, So it could happen or it could not. Is that your.
25 Q. And who were the others to -your knowledge that would 25 testimony? - :

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22 (Pages 82 to 85)

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. 86
MR. DAVID: Argumentative. You can answer.

aa

| -24———say on-or about the date it was created,
25

1 i MR. DAVID: You can answer.
2 THE WITNESS: Typically I would review 2 THE WITNESS: -- Butterfingers, Mannix
3 something like this, I just don't recall whether Ive 3 maybe -- I mean Butterfingers Ruby maybe and Mannix
4 seen this one. 4 Ruby. I don't know whether James Deol was involved in
5 BYMR ELKIN: . meen Sterna .
6 ©. And when was the — and siting hae today, you have | 6 MR. DAVID: Michael, docs it make sense to
7 no recollection as to ever having seen this prior fo 7 eomtinue on because we will finish reasonably soon, or
8 your deposition today? . 8 — does it make sense to break for lmch?
9 MB. DAVID: Objection’ That's not what he 9 _ MR_ELKIN: [think I can finish in half an
10 said. 10 hou.
11 THE WITNESS: I didn't say I have no 1 Miscussion off the record at 12:31 pan)
12 —s réeolertion. I said I don't recall sesing it, 12 ' (Back on the record at 12:31 p.m.)
13 BY MR. ELKIN: 13 VIDEO TECHNICIAN: We're going off the —
14 Q Okay. And do you~ and at any point prior to today. | 14 record: This also marks the end of tape mumber one in
15 A. DoTreécall seeing it at any point prior to today? 15 the deposition of Paul Rosenberg. The time is 12:32
16 Q. Yes, yes, that's my question. 16 and five seconds p.m, ,
.. [17 A. Pmonotsure. 1 don't know, 17 \ {Recess taken at 12:32 p.m.)
* 118 Q. Tilask you a couple more questions about this 18 (Back on the record at 12:42 p.m.)
19 document anyway, Ircalize you haven't .estified that | 19 VIDEO TECHNICIAN: We are back on the
‘| 20 you've seen it before, Let me direct your attention, 20 record. ‘This marks the beginning of tape number two
_.|21 if Imay, to the second page of this exhibit. There's 21 in the deposition of Paul Rosenberg. The time is
+22 a —if you take a look about 60 percent of the way 22 12:42 and 15 seconds p.m.
23 down in the box which is headed "Correspondence," 23 MARKED BY THE REPORTER:
| 24 there's a referenice there to an Eric Schwartz, and 24 DEPOSITION EXHIBIT NUMBER 7
{25 then ifyou drop yout eyedown three columnsbelow | 25 12:41 pm.
: 87 ‘ 89
you'll see the name "Erie Schwarte" as @ signatory. 1 BY MR. ELKIN:
De you see that? 2 ©. Mr. Rosenberg, the court reporter has handed to you a:
SOLA Yea. 3 document which has been marked as Rosenberg Number 4.
. o. Tm not going ta ask you any questions about the 4 Your counsel, as he stated earlier in the deposition,
attomey -- that would invoke the attomey-client 5.) provided me a capy of this document and it’s marked
an privilege here, but was Mr. Schwartz authorized to 6 highly confidential today, ao ve not had occasion to
» Sign this document on behalf of Shady Records, Inc.? 7 spend very much time with it, It is one page, and
cn MR. DAVID: You can ahewer, Rove taken a look at it during the break, and I want
: oo THE WITNESS: Yes 9 to ask you some questions about it.
“BY MR, ELKIN: 10 Can you identify Rosenberg Nunober 7 asa —
. Q. Now do you have an understanding as to when Oh Foolish | 11 document that you've sean before?
“.” Pride was created? 12 A. Yes,
Yee, 13° Q.) What is Rosenberg Nutober 7?
“Q.° And when — your understanding is what when it was 14 A, It's an agreement assigning rights of James Deel.
 reated? 15 Q. And what rights are being assigned, if you know?
On or about 1989, 16 A. Rights to musical compositions, copyrights, -
And Shady Records, Inc, was not incorporated as of 17 Q. Drop your eye down ta the end of the letter, nearly
that day, correct? ig - end of the letter, Under the words "Very truly yours,
“No, itwas not. . |19.. Shady Records, Inc,” there's a signamre, Can you
" MR.DAVID; Freviously asked and answered. {20 identify thet signature?
OU Can answer agai, 21 A.’ Yes, it's mine.
iY MR, ELKIN: ‘}22 QQ. And when did you sign this document?
‘And what id your currant understanding as to the 23° «A. Not sure, but by looking at the date on it, 1 would

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25

1 AL Yes. 1 A. Tweor three.
2 Q. And prior to today did you ever tum this document | 2 ©. Andall of them were done via the telephone?
3 over to your lawyers? 3 AL Yes.
4 MR. DAVID: Objection. I told you that — 4 Q, Were there imy E-mail exchanges?
5 first of all, I told you that I got it yesterday. 5 A. [don't believe so.
6 MR. ELKIN: Withdrawn. 6 Q. Did — and did — how was it that you end he first
7? BY MR. ELKIN: 7 began to negotiate with regards to this document? Did
& ©. Prior to yesterday, did you ever tua this document g you cantact him or did he contact you?
9 over to your lawyers? - 9 A. Mr, Mathers spoke to him, and | was put in contact
10 A. I thought we had sent it prior but apparently we 10 with him through him.
\l didn't, so I gave him a copy yesterday. 11 Q. Okay. And do you know the subject matter of the --
12 Q. Were you-— did you participate in the negotiations | 12 withdrawn, Did Mr. Mathers tell you what he and Mr.
13 surrounding this particular document? 13. Deel spoke about?
14 MR. DAVID: Assumes facts not in evidence. 14 MR. DAVID: You can answer that yes or no,
15 You can answer. 15 just yes of no.
16 THE WITNESS: Yes. 16 THE WITNESS: Yes.
17. BY MR. ELKIN: 17 BY MR. ELKIN:
18 @. And you negotiated on behalf of Shady Records, Is [18 Q. And can you tell me what Mr. Mathers relayed to you
19 that correct? 19 with regard to what he said to Mr. Deel?
20 A. Yea. 20 MR. DAVID: Give me onc second.
21 Q. And with whom did you have such negotistions? 21 If'Mr. Mathers relayed that to you in yout
22 A. James Deel. a2 role as counsel, then please mdicate that and I would
23 QQ Anddid you meet with him personally or physically? | 23 direct you not to atiswer. Hf on the other hand he
24 A. Ag it relates to this? 24 relayed it to you i one of your parallel roles with
25 Q, Well, let's just say prior to -- have you ever met 25 the company, then you may relate what he said to you.
$1 a3
1 James Deel? j THE WITNESS: In my perallel role he said
2 A. Yeah 2 that he had spoke to Mr, Deel and asked him whether it
3. Q. On how many — whan did you first meet him? 3 would be possible to, for lack of a better term, buy
4 A. Around 1997. 4 him out of his rights in recordings that he had done
$ Q, Anddid you remain in contact with him from 1997 to 5 with him prior, and Mr, Deel agreed that he would do
6 the present? , 6 at.
7 A, Be more specific. 7 BYMR. ELKIN:
8. Well, whea you met him in 1997, what were the 8 @. And there's a, there isa compensation provision laid
9 circumetances surrounding your mecting him? Did you 9 gut in the second paragraph of this letter in the
10 mocet him at a club? 10 amount of $5,000, Is that your -~ with some royalty
U1 A. No. Hewas a roommate with Mr, Mathers, andI methim | 11 percentage and mechanicel royalty rate. That's your
12 at the house they were living in. * {12 understanding of the compensation that was paid to Mr.
13 Q. And did you have occasion to meet with him over the 13 Deel in connection with this document? ,
14 past six months? 14 A, $5,000 was paid.
15° AL Yes. 15 Q. Any additional consideration than that?
16 Q. And did you have occasion to meet with him in 16 A. Other than the royalty?
17 connection with this particular — the subject matter 17) Q. Yes.
18 of this particular document? 18 A, No, bat the royalty was only put in there becanse he
19 A. Physically, a. 19% wanted to be assured that we weren't just gonta ium
20 ©, Did you have conversations with him regarding the 20 arvund and sell everything. We had never had any
21 subject matter of this document? 21° intention of doing 80.
22 A. Yeu As I said before, 1 negotiated sotut of the 22. Q. Now is there any document that is — or any schedule
23 tenns of it with him. 23 that was originally eppended to this particular
‘24> Q. ‘How many conversations would you say you had with him ] 24 * ” dogurment’? ,
about thig document? 25 (A. No. It was meant to be all encompassing.

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24 (Pages 90 to 93)

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hadi 4é' éolinsél to the Yeading, did you bave any

: 94, : a6
1 Q There's 110 specific titles of any recordings orrimusic | 1 discusidns with Mr, Iovine about this lawsuit?
2 —coftipUsitiod’s thats includéd hata: Ts thett aay other | 2A. Yea
3 such dacuiiuent that exists? 3 Q. And how many such conversations did you have with him?
4 A. No. It was iritentidnally broad | _.. [4 Ae Metiy, Tdon't recall.
5 Q, Asid who prepared thig dotamant, ifyou know? . § Q. Com you tell me briefly what the sum and substance of
6 A. Idon'trecall, 6 ° thdse conversations were?
7 Q. One of Shady's lawyers? 7 A. You'd have to be more specific, There's many
& A. ‘1 think Theo Sedltvayt. 8 —convereations.
9 Q. In your discussiona with James Deel, did you ask: hini 9 .Q. Okay. Did Mr, loving express a view ag to thé merits
10 whether of net be participated i in the feoording ofOh | 10 — ofyour patticular claiti in this case?
1} Foolish Pride? 1] A. That's outside of my role as 4 business qitinber of
12 A, [don't bélievel did. 12 Shady Records.
13. Q. Inyour dispussions with Mr. Deel, did youask him | 13 Q. What shout with regard in ~ did he exptess a role—
14 whether or not he participated in the recording So 14 did he express a view with regard to what the Source
15 Many Styles? 15 had done by virtue of making these recdrdings
16 A, don't bélieve I did - 16 available? When I say these recordingé, I'm réferring
17 MR. ELKIN: And, Mr. David, forthe record, | 17 tp Oh Foolish Pride and So Many Siyles or excerpts
18 - you're going to be producing this to us under Bates 18 therefiora.
19 stamp number -- 19 MR, DAVID: We're also talking -- I just
30 MR. DAVID: That is correct. 20 want 1¢ make sure that we're clear that we're talking
21 Mit ELKIN: -- so we can have it as part of 21 about discussions that aré outside of Lovine's role as
22 the formal proditction. Is that cutrect? (22 - ammembér ofthe joiht ventire and the role that Pant
23. MR. DAVID: That is correct. As he 23° may have had as coithsel to the joint venture.
24 explained to you, roy sole purpose in giving itto you | 24 MR. ELKIN; Correct,
24 at this time was s6 that you Would have an opportunity | 25 . MR. DAVID: Okay.
95 a7
1 to inquire. i THE WITNESS: Outside of his role 23 @
2 BYME. ELKIN: 2. member of the joint venture completely?
3 ©. From and after the time that this particular document 3 MR, DAVID: Yeah. That's what the question
4 wis assigned, that is 0 say after January 30, 2004, 4 WAS. . sO
5 did you cause there ty be any filing with the 5 THE WITNESS: Not really.
6 copytight office with respect to including any 6 MRE. DAVID: Achially jet me change that.
7 reference to Mr, Deél ag an avithor io either Ob 7. Ws got to be in the conjunctive. In other words, it
8 Foolish Pride or So Mabry Styles? 8 has to be outside of his role'in thé joint venture and
9 A. No. 9 your role as coiinsel to the joint venture, All fight?
10 Q. Have you — [take it you've had coriveteations with 10 So, in other words, if you were just sort of shooting
11 Jimmy Tovine about this lawsitit. Is that correct? Ts the breeze with fim and didn't have anything to do
12 MR. DAVID: One second. 132 with the fact that you wore the lawyer for the joint
13 You cin answer that yes or 0. 13. venture, that you cin discuss, but if tt was within
14 THE WITNESS: Yes, Ihave, 14 those two roles you can't disctiss it.
15 BY MK. EEKIN: 15 THE WITNESS: I would say it was always
16 Q. Did you have any conversations with Mr.Iovineis | 16 related to those two rélc8,
17 the senior executive of Interscope Records, comect, 17 MR. DAVID? Okay,
18 ta your knowledge? 18: MR ELEIN: Well, that's yous — you're
19 A. He's the seniof éxadhtive? You incim — 19 giving hits instivetion not té angwer based on ne
20 Q. Ishe it charge of Inierscipe Rédtris to your 20 0©—-attormey-clienit privilége? ©
21 kadwiedge? 21 MR. DAVID: Fin fact the ditiverdation was
22 A. ¥o8i" 22 «with Idvinie ad a hatter of the joinit Vetifure or
23 Q. Arid outside of Mr. Iovine's role asaimeédiber ofthe =| 23 —  vepteslititinlg A méntibér Of thie joitit veiling, ia be more
24 — jiint veithite and any role that you cliim you may have |24 ” precide, aid his Yle ag the aftoméy fos the joint
25 (25 6 wenituire) yee, TH civitie hint that iadtitiction

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25 (Pages 94 to 97)

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: “os ' 98
oo gps WITNESS: Butif there was times,tobe =| 1 point not to get the judge on the phone to get these
{9 °°. clear, that we had conversations where it wasn't inthy 2 issues resolved because there are many issues. Tm
3 .” sple ag counsel — . 4 just zeroing in on the iseve and the srea about which
4 _ MR. DAVID: Then you have to answer the 4  wedon't currently have « problemi, which is where you
5 question, 5 are aot — where you're having these conversations
é THE WITNESS: Okay. We can do that 6 outside of your official expacitics —
7 BY MR ELEIN: 7 «A. Right.
8 G. Did— so subject to those confines, did Mr. Tovine B Q. -- for lack of better words.
9 express a view to you with respect to what the Source 9 A. Okay. ,
10 had done in texmns of releasing excerpts of Oh Foolish 10 Q. Outside of the - outside of those voles and your = -
ll Pride and So Many Styles? 11 _ official capacities, did he express a view to you with
2 MR. DAVID: I would object to the form of 12 respect to the activities that you all are conplairing
13 the question in that it says excerpts because we don't 13 about in this lawsuit?
14 agree with that, but you may answer. 14 A. Did he express a view, yes.
15 THE WITNESS: Yes. 15 Q. And what was that view?
16 BY MR ELKIN: 16 A. Outside of my role as. legal representative? Can we
17 Q. And what did he say? 17 go off the record for a second? I just want to
18 A. Imean] guess that answer is in relation to my role 18 determine whether this is —
19 ag an attomey. 19 MR DAVID: Of the record.
20 MR. DAVID: But then if the conversation — 20 VIDEO TECHNICIAN: Going off the record,
Z1 Tm cdénfased for a moment, Paul 21 ‘the time is 12:58 and 13 seconde p.m.
22 THE WITNESS: He had asked whether we ehad 22 (Disenssion off the record at 12:58 p.m.)
23 any conversations together outside of the role as —~ 23 (Back on the record at 12:58 p.m.)
24 MR. DAVID: I see what you're saying. 24 VIDEO TECHNICIAN: We are back on the
25 You're saying that the specific topic he's asking was 25 record at 12:58 and 48 seconds p.m,
. a9 idl
1 in the role ag an attomey. 1 ME DAVID: | am not certain that this
2 THE WITNESS: Yes. 2 answer is in fact outside the scope froma Mr.
3 MR. DAVID: I got it, I misunderstood. So 3 Resenberg’s representation, but subject to our
4 in that situation then, can I just make sure that I 4 stipulation, If] nonetheless permit him to answer it
5 understand because 1 don't want to unnecestarily 5 Go ahead.
6 interfere. Are you saying that any conversations that 6 THE WITNESS: He expressed a view that if
7 you had concerning Mr. Iovine's view with respect to 7 indeed the Source was planning on releasing the
é what the Source had done in tertns of releasing & material that’s the subject of this lawsuit, that we
9  excerpis of Oh Foolish Pride and So Many Styles was in | 9 should attempt to prohibit that.
10 therole as your being an attorney for the joint 10 BY MR. ELKIN:
it venture? Is that what you're saying? 11. Anything else that he said to you?
120 HE WITNESS: Most of them, most ofthem, |12 A. Imean, you know, we can go into tons of stuff He
13 _-yes, but if you want to getmore specific, there may 13 had meetings with them, There was plenty, but that's
14 be times where the role didn't exist. 14 the general view that he expressed.
15 BY MR. ELKIN: 15 Q. -Okay. Mr. lovine had meetings with members of the
16 ©. And that's really what Tm zeromg in on. I think 16 Source?
17 that's what counsel and J are struggling with, Tm 17 AL. Sure
18 only asking you — Pd like to ask you about the 18 . To discuss this lawsuit?
19. others, and U have been asking you about the. others. L19 A. Yes, Well, prior to the lawsuit.
20 MR. DAVID: 1 won't let you. 20 Q. Mr. Rosenberg, in connection with this particular _
21 BY MR. ELKIN: 21 lawsuit, what are you — that is to say, Shady, what
22 Q. He's given you an instroction and he's not permithng 22 are you complaining about that the Source has done
23 that to take place, so there's not much I can do about 23 unlawfully?
24. that given how — given the rules of depositions and ~~ | 24 MR. DAVID: I'm going to object. That
25 the fact that you can't + or Tm electing at this 25

calls for a legal opinion on the part of this witness,

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26 (Pages 98 to 101)

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1 and he's not here to testify as an expert legal 1 Q Any other way in which they have been damaged? |

2 opinion, 2 A. There may be more,

3. BY MR ELKIN: 3) Q. As you sit here today can you think of anything else?
-4 . Do you feel that you ~ do you feel that Shady has 4 4A. Thar's the primary damage.

5 been damaged in connection with this casc? 5 Q. How have you been damaged by the unfair exploitation

6 MR. DAVID: And it's not hig role to say 6 of your copyrights?

7 that, He's here as a PME for Shady and that's not his 7 A. IThelieve —

g ‘rote. 8 O. What damages have you suffered?

9 MR. ELKIN: Se you're not going to allow 9 A. What damages have we suffered? Ate we on trial to
10 him to answer that question? 10 prove damages here? I don't have to answer that.
11. MR DAVID: I'll let you ask him about the 11 MR. DAVID: He's asking you the question if
I2 damages that Shady may have suffered if you want. 12 you know of any damages,

13 MR. ELKIN: In order for me to understand 13 MR. ELKIN: Let me ask the question,
14 about the damages they suffered, I want to know how 14 please, Mr. David.
13 they claim they're injured. 15 MR. DAVID: You may answer.
16 MR. DAVID: You mean other than the fact 16 BY MR. ELKIN:
17 that you infringed on their copyrights? Cio ahead. 17 Q. Du you know of any damages that Shady has incurred?
18 Ask your question. 18 A. Sure,
19 MR, ELKIN: You know you shouldn'tbe doing [19 Q. What are they?
20 that 20 A. We've lost the right to publish or distribute thig
2] MR. DAVID: Go ahead. Ask your question. 21 tnaterial whether we desire to or not.
22 Well, you shouldn't be asking this question 22 Q. Anything else?
23 sof thig witness. 23 A. Lost the right of first publication of the material
24 MR, ELKIN: You know — 24 and the right of whether it was intended to be
25 MR. DAVID: Come on 25 released at all, which it wasn't.
103 105

1 MR. ELKIN: J'tn going to take care of this 1 Q. Anything else?

2 colloquy and the coaching in another way,but let me | 2 A. That's about it.

3 ask the questions my way, 3. How do you ~ can you, can you measure the damages
4 MR. DAVID: Ask your questions properly, 4 that you have suffered by virtue of having lest the

5 Go ahead. 5 Tight to publish or distribute these recordings?

6 ME. ELKIN: No. J will ask the questions é A, Can I personally measure it?

7 the way I'm going to ask the questions, regardless of | 7 @. Yes,

& your characterization, I'll ask it one more time. Lf 8 A. Independentty?

9 - [don't get the answer, then -- an answer, then I will 9 0. Yes.

10 move on with all of the risk atiendant to your 10 A. No,

ll objection and obstructing the examination, it @ Can you do it? Do you know who can?

12 BY MR. ELKIN: 12 A. Lassume we can with our = you know who can. The
13 Q, Mr. Rosenberg, do you believe that Shady has heen | 13 judge and jury can,

14 injured as a result of the actions you complain ofin | 14 ©. And do you know anything that you would attempt to --
14 ‘this case? 18 that you personally would say to the Fudge or jury ta
#6 MR. DAVID: You may answer. 16 show your damages?

17 THE WITNESS: Yes. 17 MR. DAVID: Give me one second,

18 BY MR ELKIN: 18. To the extent to which this calls for you

19 Q. How have you been injured? 19 fo reveal discussions that you've had with counsel .
20 MR. DAVID: By you, you mean Shady, 20 representing Shady as to the strategy of the case and
21 MR. ELKIN: Yes, Mr. David, yes. 2] what we intend to do, J direct you not im answer both
22 MR. DAVID: Go ahead.- : 22 on the attorney-client privilege and work product

23 THE WITNESS: Shady has been injured by [23 privilege.

24 virtue of an unlawful exploitation of copyrights, 24 THE WITNESS: I can't answer it then,

25 BY MR. ELKIN: 24 MR. ELKIN; I'm not asking for that, Maybe

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27 (Pages 102 to 105)

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106 108
1 its a poorly worded question. 1 INDEX TO EXAMINATIONS
2 BY MR. ELKIN: 2
3 Q, All] want to know is, do you know how much money yor 3 Witness Page
, 4 fee] you've lost as a result of what you're 4 PAUL ROSENBERG
| 4 complaining about? 5
| 6 A. [have not calculated that 6 EXAMINATION BY MR. ELKIN? ...csssssessssees 4
7 ©. And the same is true with respect to the so-called 7
& loss of first right of publication? 8 INDEX TO EXHIBITS
9 A. Ive not calculated that. 9
0 MR. ELKIN: Weil, I think subject to the 10 Exhibit Page
1 rulings of the judge and in respect ofa motion to lt (Exhibits retained by counsel.) ,
120s compel which may or may not require further ]2
13 questioning, I have no further questions at this time. 13. DEPOSITION EXHIBIT NUMBER 1............-- we fl
14 MR. DAVID: Have a good day, Paul. 14 DEPOSITION EXHIBIT NUMBER 2....0e-0-+-0+ 73
15 VIDEO TECHNICIAN; This concludes the 15 DEPOSITION EXHIBIT NUMBER 3......sssssee 77
16 deposition of Paul Rosenberg. The time is now 1:05 16 DEPOSITION EXHIBIT NUMBER 4..s.scsssssssceeos 80
17 and 42 seconds p.m. 17 DEPOSITION EXHIBIT NUMBER 65... 8]
18 (The deposition was concluded at 1:42 p.m. 18 DEPOSITION EXHIBIT NUMBER 6......... seein BE
19 Signature of the witness was not requested by 19 DEPOSITION EXHIBIT NUMBER 7......... beeteneas &8
20 - counsel for the reapective parties hereto.) ' {20
21 21
22 22
23 23
a4 24
25 25
10?
1 CERTIFICATE OF NOTARY
2 STATE OF MICHIGAN }
3 185
4 COUNTY OF OAKLAND )
5
6 L, Judith C_ Wemer, a Notary Public in and for
7 the above connty and state, do hereby certtfy that the
8 above deposition was taken before-me at the time and
‘9 . place hereinbefore set forth; that the witness was by
10 ine first duly sworn to testify to the truth, and . 24
11 nothing but the truth; that the foregoing questions _ a , 7.
12 asked and enswers made by the witness were duly :
13 recorded by me stenographically and reduced to
14 computer transcription; that this ig a true, full and
15 correct transcript of my stencgraphic notes so teken;
16, and that I am not related to, nor of counsel to either
17 party nor interested in the event of this cause.
18
19
20
21
22 Judith C. Wemer, CSR-2349
23 Notary Public,
wa Oakland County, Michigan “
25 My Commission expires: 7-2-07
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28 (Pages 106 to 108) .

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age 2:04-mc-72295-GCS-SDP ECF No. 10, PagelD.327 Filed 07/06/04 Page 4Z.G659
IN THE DISTRICT COURT OF THE UNITED STATES |

2 0} FOR THE SOUTHERN DISTRICT OF NEW YORK

4 | SHADY RECORDS, INC.,
a Plaintiff,
6 vs. Case No. 03-cv 9944
7 SOURCE ENTERPRISES, INC., DAVID
8 |MAYS, RAYMOND scoTT p/k/a RAY
9 |BENZINO, and BLACK ENTERPRISES /
10 GREENWICH STREET GROWTH MANAGEMENT,

ll |L.L.c.,

12 a netendants. CONFIDENTIAL

. 1s J _

14
15 HIGHLY CONFIDENTIAL
16 a
17 the Deposition of GREGORY WIER,

1g 1} Taken at 1760 South Telegraph Road, Suite 300,
19 - Bloomfield Hills, Michigan,
20 . Commencing at 11:02 a.m.,
21. Monday, June 7, 2004,
22, Before Kimberly R. Hunt, CSR-5223.
23
24
28

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ase 2:04-mc-72295-GCS-SDP - ECF No. 10, PagelD.328 Filed 07/06/04 Page 48of50 .

Jurisdiction i in this matter, if] can. My name is

, . , Page 24. Page 4
1 APPEARANCES: 1 Herman, who is here. Mr_ Wier is here voluntarily at
2 DONALD WN. DAVID 2 the request of Ms. Anders, your associate. As
3 ‘Fischbein, Badillo, Wagner, Harding 3 appeanng voluntarily, we were not ~ although we have
4 909 Third Avenue . 4 Teceived a copy of the subpoena, identifying the
5 New York, New York 10022 5 easter district of Michigan, no subpoena was filed
6 (212) 443-3750 6 with the Federal District Court in Detrott for
7 Appearing on behalf of the Plaintiff. ? enforcement There was one in thig case, in your New
& . & York case that was filed for enforcement against Mr.

o THOMAS P. LANE 9 Holos, apparently, but none against Mr. Wier, So

10 Thelen, Reid & Priest, L.L.P. 10 we're here voluntarily, but we want it understood that

11 875 Third Avenue lJ by appearing he is not subjecting himself to the .

12. New York, New York 1 0022 12 jenisdiction of any New York Federal District Court .

3) (21 2) 603-6731 , 13 He is still claiming jurisdiction only within

14 Appearing on bchalf of the Defendants. }14 Michigan. That having been said, go right shead,

15 15 MR. LANE: 1 appreciate representation,

16 STEVEN 7%. COHEN 16 Pm undcr the impression that the subpoena was

17 SAMUELS. HERMAN 17 properly served, but Im happy here's here now so we

18 Cohen, Lemer &.Rabinovitz, P.C. 18 want to proceed. .

19 26862 Woodward Avenue, Suite 200 19 BY MR LANE:

20 Royal Oak, Michigan 48067 20 Q. Tm going 10 ask you a series of questions, I beHeve

2] (248) 691-7700 21 there wil] be a number of objections, so please let

22 Appearing on behalf of the Witness, 22 “Mr, David an opportunity to object before you respond.

a3 23 If] ask you anything and you don't understand it, let

34 ALSO PRESENT: 24 me know and J will try and rephrase it, okay?

25 Debra Cort’ 25 A. Yes. 7

Page 3 : Page 5
| 1} Bloomfield Hills, Michigan Tl @. How maty times have you been deposed?
2 Monday, June 7, 2004 -2 A. Four
3 11:02 am. 3 ©. And were those atways in connection with your role as
.4 4 a private mvestigator? .
5 GREGORY WIER, 5 A, Some.
6 was thercupon called ag a witness herein, and after. 6 . How many of those fours were?
7 having first been duly sworn to tesiify to the truth, 7 AL One.
8 the whole truth and nothing but the tuih, was 8 ©. During the course of that deposition did you actually
9 examined and testified as follows: 9 five testimony? ,

10 MARKED BY THE REPORTER: . 19 A. Yes. ,

1] DEPOSITION EXHIBIT NUMBERS 1-10 1] Q.. Were any objections raised dumning the course of that

12 11:02 am. 12 deposition with Tespect to what you could gay?

13 EXAMINATION 13° A. Notthat} recall,

14 BY MR. LANE: 14. @. And what was the nature of that case?

15 Q. Mr. Wier, as Mr. David just said, my nameis Thomas [15 A. Noncompete viclation.

16 Lane, ] represent what werefer to as the Source 16 Q. And who did you represent?

17 Defendants jn this case, which ig Souree Enterprises, 17 MR..DAVID. Say that again.

18 David Mays and Raymond Scott. I'm going to ask youa| 18 A. Noncompete violations.

19 senies of questions. I'd like you to answer them as 19 BY MR. LANE:

| 20 best as you could. Have you ever beem deposed before? | 20 OQ. Who was your client in connection with that case?

41 Al Yes, 21 AL Company called —

22 MR. COHEN: Counsel, ] apologize, but I'd 22 ’ MR. COHEN: Wait

23 like tp place something on the record in tens of the 23 MR. DAVID: Wait I don't have the right

to assert a privilege on that~
- MR COHEN: Let me e explain sonieing to

“h 2:04-mc- 72295. GCS- SDP ECF Nova, PlagelD.329 Filed 07/06/04 Page 49 Obag®) @
you, Greg. If the eHent's namic itself is 1 A. Approximately ten years.
confidential, even if it was in a public record in 2 Q, In total, how Jong have you been acting as a private .
another case, that's a different issie, because that’s 3 investigator?
something that’s not confidential, but who your cHent | 4 A. Almost 20 years,
was is. I don't want you to vidlate your license, 5 .Q. Thd you go to college?
THE WITNESS:. Okay. 6 A. Yes.
MR. COHEN: So to the extent-- do you know | 7 Q. Where did you go? f .
who — can we go off the record for a second? & A. Cleary College, La me ‘ ,
MR. LANE: Sure, # Q. What was your major there? cen, - oy
(Discusgion off the record at 11:04 am:) 10 A. Business. Biv hye os
(Back on the record at 11:05 am.) 411 OQ. When did you. graduate? “ “
MR. COHEN: To the extent thatMr. Wier- [12 A. Ididtt, 0 ue .
I represént that Mr, Wier testified aga witnessina | 13, Q,. When aid you. leave? .
case pending before Judge Andrews of the Oakland 14 A, 1984.2 i
County Circuit Court. To the extent that that is a 15 °Q. From 1984 to tiepresnt you've always been employed
public record, T.will arrange for the informati onto [16 asa private investigator? -
be provided to you, Mr. Lane. 17 A.) For the most part.
MR. LANE: Let me cut to the chase with 18 Q.. How do you go about getting ticensed i in this state a as
Tespect to this arca. 19s a private investigator? .
BY MR. LANE: 20° A. You apply through the Department of Consumer Industry .

Q. Do you know of any time during the course‘of any [21 Q. When did you apply?
testimony you've over given, whether at deposition or | 22 A. Numerous times throughout 20 years.

at trial, that a privilege has been asserted with 23 Q. .Do you have to continue reapplying to get-your: license
respect to your own knowledge or activities ag a 24 renewed?
private investigator? . 23° A. That's correct: ma :
. Page 7 oO “page 9
‘| 1 A. Not that] recall. 1 Q. How long does the Jigense last before you have to get
2 © Who are you omployed by currently? 2 it renewed?
3 A. Progressive Security. 3° A. Anywhere from.one to three years. .
4 Q. And how long have you been with Progressive Sccurity?[ 4 OQ. Why does it vary, do youmow?, .
| 3 A. 1998. , 5 A. Decause itused to be licensed by the State Police and «
6 ‘Q, Were you employed by a security firm or private 6 in 2004 they went to a new act, registered with the
7 investigator firm prior to that? 7 .. Department of Consumer Industry.
8 AL Yes, . & Q. So did it used to be one year and now w itis three ox
* 9 Q. And what was that? 9 did it used to be three and now it's ONS OF =
10, A. Strategic Protection <iraup. 10 A. Used to be three, now it's one and two.
11 Q. And how long were you with Strategic Protection Group 1] Q, Do you have any reason why it would be one or two witl]
12 A. Approximately four years. ‘Jz respect tp your personal license? og. .
13 Q. Anything prior to that? oo 13° A, Sure, because it's two Hicenses, One's.a security
14 AL Yes. 4 guard and one's a private investigator, one's for one,
13° Q. What was that? 15 one's for tra, ‘
16 A, Advanced Secunty- 16 ©. Do you have any other licenses aside from asa -
17 Q. How long were you with Advanced Security? faz. security guard or as 4 private investigator?
J& A. Couple of years. : : 18 A. Yes. :
12 Q, Anything prior ta Advanced? 19 Oo What would that be? . i
20 A. Yes. | 20 A. A company catled Prodential Protective Servicers.
2] @ What was that? : a ‘|22) Q. What is that? o
22 A. Burns Intemational. 22° A. Same thing, private security guard investigation fim.
23° Q. ‘Was that also a security company? . 23° Q, All Tm asking you is whether or not you have any
24 A. Yes, 24 —-—soother icenses, not whether you perform any work aside
25 ©. How long were you with Burns? 25 from Progressive Security?
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3 (Pages 6 to 9)

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TEE ES aa

aden biting

Page 10 Page 12
1 A. it's a company that I own, 1 retention of Mr. Wier; is that correct?
2 Q. Let me back you up fora second, T'm trying to 2 MR DAVID. Or any work that he did for. Ss
3 understand, we're talking about the license that the 3 Shady as a private investigator, that is correct, and , ,
4 State issues or the State Police or whatever bureau 4 it's not only on that statute, it's bdsed on that
3 _that you're getting the license from, okay. So you 5 statute i} combination with case law interpreting that
6 . havea license as a security guard, correct? 6 statute.
7 A. Correct 7, MR. COHEN: ‘Yeah: Would you like the case
8 © And you havea license asa private investigator, 8 law? ,
9 correct? , 9 MR LANE: Ihave the case law and I have
10 A, Correct. 10 the statute,
11 Q. What is this other company that you've jest mentioned? 71] | “MR DAVID: Well, would appreciate it if
12 A. Another private security company. 12 you'd putit in the record, if you don't mind.
13. Q, So do you work for that company at the same time that 713 WR. COHEN: Sure. The tase inTazak, |
14 you work for Progressive Security? 14 T-A-Z-A-K. vertiis Huntington Research Associates, which
15 A. Yes. 15 ig a 2001 Michigan appeals case; that's one of them.
16° Q. How do you divide your time between the twa? 16 Ravary, which is Ravary, R-A-V-A-R-Y, versus Reed, 167.
17 A. Noteasy. 17 Michigan appeals 447, 1987 case, Miller Oil versus
48 Q. Do you work for both on the same day? 18 Smith Industries, 1990 decision of the United States
19 A. Sometimes, 19 District Court for the Western District of Michigan, °
20 Q, Do you bill hours to different entities on the same 20 Southem Division. Case called People versus Artis
‘121 day? _ 21 White, which is 256 Michigan. appeals. 39, a 2003.case,
22, A. Sometimes, . , | 22 also interpreting the statute, Harig on one second, T
23 ©. How do you go about allocating your hours with respect 23 believe there's one tore. By. the way — well, that's
24- to Progressive Security? — 2400 it
25 A, Depends on the kind of work that we put out, 25 MR. DAVIL: Lf] could, just so the record ,
Page 11 , Page 13
toa, De you bill Progressive Sceurity for your time and 1 is clear, Tom, ] believe you would agree ihat my
2 they i in torn bill the chents or do you bill clients 2 asserting this privilege does not come as a surprise
3 directly? 3 to you. This was.communicated to Deb along with the
4 A, Depends on ‘the client. “4 - cases much earlier and I believe, in fact, that there
5 ©, With respect to the client in this case, Shady 5 have been conversations between Mr. Wier's counsel and
6 Records, correct? - 4 Deb in that connection, although I was not a patty to
7 MR. DAVID: Whoa. 7 those conversations.
8 MR. COHEN: Objection. 8 MR. LANE: J am not suggesting that —
9 MR. DAVID: J direct you not 10 answer that 9 MR. DAVID: No, no, I'm not saying you are,
10 question. 10 j just want to make it clear for the record. ,
ik MR: LANE: On what basis, Mr. David? 11 MR: LANE: Well, let me make a few things
12 MR. DAVID: Because} believe it invokes 12 clear for the record. I'm not suggesting it comes as
13 the investizative privilege under Michigan Jaw, 13. a surprise to me. I've looked at the case law,,
14 MR. LANE: And which particular Michigan 14 particularly that Miller case, and I think there are 4
14 statute are you referring to, do you know? 15 number of exceptions to the privilege, including an
116 MR. DAVID: } don't, but — 16 exception with respect to, except as may be required
17 MR. COHEN: Yeah. 7 by flaw, which | think exists here, J alse think that
18 MR. DAVID: Fl rely on them to tell me. 18 what Tm inquiring into arc the facts and not
19 MR, COHEN; There's a series of cases that 19 necessarily the substance of what Mr. Wier has done
20 interpret MCL — give mea second, I' u give you the 20 and we know he's been retained by Shady, that's why
21 __ cite, 338.840, which is also corresponding to Michigan 21. ydu're asserting the privilege. Otherwise you
22°. statutes annotated 18.184 (20). 22. couldn't assert the privilege. So it seems to be
23 MR. LANE: And based on that statute, Mr. 23 focused a little bit on the bark on the trees, but
24. David, I take it you're instructing him on behalf of 24. — that is certainly something we can deal with Judge
Shady not to respond to questions related to Shady's 25° Lamch with.

